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AO 106 (Rev. 04/10) Application for a Search Warrant



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                                District of Oregon

              In the Matter of the Search of                             )
         (Briefly describe the property to be searched                   )
          or identify the person by name and address)                    )            Case No.
13957 SW Ronald Court, Beaverton, OR 97006, et. al,                      )
                                                                         )
                                                                                                          9
          as described in Attachment A
                                                                         )

                                             APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

  The locations as described in Attachment A

located in the      --------
                                                  District of   ------------
                                                                             Oregon               , there is now concealed (identify the
person or describe the property to be seized):

 The information and items set forth in Attachment B hereto.

          The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                   r'if evidence of a crime;
                   r'if contraband, fruits of crime, or other items illegally possessed;
                   ,&f property designed for use, intended for use, or used in committing a crime;
                   0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                          Offense Description
        18 U.S.C. §§ 2,371, 1952,                  Conspiracy to use a facility in interstate commerce with intent to promote acts to
        2421                                       facilitate the promotion and carrying of a business enterprise involving prostitution
                                                   and transporting an individual in interstate commerce for purposes of prostitution.
          The application is based on these facts:
        See affidavit of FBI Special Agent June Piniewski which is attached hereto and incorporated hereinby this
        reference.

           r'if   Continued on the attached sheet.
           0 Delayed notice of        days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested




                                                                                       r
             under 18 U.S.C. § 3103a, the basis of which is set forth on the a t t a c h - 2 ' ~


                                                                                                 App/;c~r, ,;gaahue

                                                                                          June Piniewski, FBI Special Agent


Sworn to before me and signed in my presence.

                                                                                \
Date:              01/13/2019


 City and state: Portland, Oregon                                                         n V. Acosta, United States Magistrate Judge
                                                                                                 Printed name and title
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DISTRICT OF OREGON, ss:                              AFFIDAVIT OF JUNE PINIEWSKI


                      AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

       I, June Piniewski, being duly sworn, hereby depose and state as follows:

                                Introduction and Agent Background

        1.        I am a Special Agent of the United States Department of Justice, Federal Bureau

of Investigation (FBI), and have been so employed since February 2015. As a Special Agent of

the FBI, I am authorized to investigate violations of the criminal laws set forth in Title 18 of the

United States Code. I am currently assigned to the Portland Division of the FBI where I

investigate violations of federal law, including bank robberies, crimes against children, sex

trafficking offenses, and other violent crimes. I have been involved in multiple investigations of

matters involving sex trafficking, particularly as it relates to violations of 18 U.S.C. §§ 1591,

1952, 2421, and 2423. I have had extensive training in law enforcement investigation

techniques, including but not limited to 800 hours of training at the FBI' s Academy at Quantico,

Virginia. Prior to joining the FBI, I was a Deputy Sheriff in Hillsborough County, Florida, for

approximately five years, where I participated in the investigation of various crimes, including

violent crimes.

        2.        As a Special Agent of the FBI, I am authorized to investigate violations of the

criminal laws set forth in Title 18 of the United States Code. I am currently assigned to the

Portland Division of the FBI where I investigate violations of federal law, including bank

robberies, crimes against children, sex trafficking offenses, and other violent crimes.

        3.        This affidavit is submitted in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a search warrant for the following premises:

        •         13957 SW Ronald Court, Beaverton, OR (Location 1).
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                1030 SW Jefferson Avenue, Apartment 340, Portland, OR (Location 2).

                410 NW Lost Springs Terrace, Apartment 108, Portland, OR (Location 3).

       •        13309 SW 72 nd Avenue, Apartment JD, Tigard, OR (Location 4).

for contraband and evidence, fruits, and instrumentalities of violations of Title 18, United States

Code, Section§§ 2, 371, 1952, and 2421. As set forth below, I have probable cause to believe

that such property and items, as set forth in Attachment B, which is attached hereto and

incorporated herein by this reference, including any digital devices or electronic storage media,

are currently on the premises located above, more fully described in Attachment A, which is also

attached hereto and incorporated herein by this reference.

       4.       The statements contained in this affidavit are based upon the following: my own

personal knowledge; knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers; interviews of witnesses; my review of

records related to this investigation; communications with others who have knowledge of the

events and circumstances described herein; and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the search warrant application, it does not set forth each and every fact that I

or others have learned during the course of this investigation.

        5.      I have set forth only those facts that I believe are necessary to establish probable

cause to believe that evidence of violations of 18 U.S.C. §§ 2,371, 1952, and 2421, exists on the

person of Ting Fu and ChaoDan Wang, and at the residences, located at:

        •       13957 SW Ronald Court, Beaverton, OR (Location 1)

                1030 SW Jefferson Avenue, Apartment 340, Portland, OR (Location 2)


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               410 NW Lost Springs Terrace, Apartment 108, Portland, OR (Location 3)

               13309 SW 72 nd Avenue, Apartment JD, Tigard, OR (Location 4)

                                         Applicable Law

       6.      Title 18, United States Code, Section 1952(a)(3) makes it a crime to knowingly

use a facility in interstate or foreign commerce, specifically computers and cellular telephones,

with intent to promote, manage, establish, and carry on acts to facilitate the promotion,

management, establishment, and carrying on of an unlawful activity namely, a business

enterprise involving prostitution offenses in violation of the laws of the State in which they are

committed, to-wit prostitution in violation of Oregon Revised Statute (ORS) 167.007 and of the

United States, and thereafter performed and attempted to perform an act to promote, manage,

establish, and carry on and to facilitate the promotion, management, establishment, and carrying

on of such unlawful activity; Title 18, United States Code, Section 2421 makes it a federal felony

for anyone to knowingly transport an individual in interstate or foreign commerce, with the

intent that such individual engage in prostitution, or in any sexual activity for which any person

can be charged with a criminal offense, or attempts to do so. Title 18, United States Code,

Section 371, makes it a crime for two or more persons to conspire to commit any offense against

the United States and for one or more of the people to do any act to effect the object of the

conspiracy. Title 18, United States Code, Section 2 provides that whoever commits an offense

against the United States or aids, abets, counsels, commands, induces or procures it commission

is punishable as a principal.




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                            STATEMENT OF PROBABLE CAUSE

                                         Sex Trafficking

       7.       I have received formal and on-the-job training in the investigation of sex

trafficking. I have participated in several investigations, which led to the arrest and conviction

of traffickers, and have become familiar with the habits, mannerisms, language, and techniques

used in committing human trafficking offenses, and the attempts to conceal the evidence of such

occurrences from detection by both the public at large and law enforcement agencies. I have

spoken with and read documentation by officers who possess knowledge and expertise in the

investigation of sex trafficking-related crimes. I have spoken to numerous victims of sex

trafficking about their experiences in the life of prostitution. I have also participated in many

aspects of sex trafficking investigations, including conducting physical surveillance, interviews,

reviewing electronic evidence, using confidential human sources, writing and executing search

and seizure warrants, and making arrests. I have gained knowledge of the inner working of Sex

Trafficking Organizations (STOs) and based on my training and experience know the following:

        8.      Prostitution is inherently a cash business, as cash provides paying customers with

some form of anonymity. STOs often move and launder the cash by placing it into it into bank

accounts, using casinos to launder sources of cash, wire transfers, store value credit/debit cards,

online e-currency, investment accounts, real estate, cash-based businesses such as restaurants,

and other types of assets. STOs will often move the illegal proceeds several times through

different forms of assets to make it difficult for law enforcement to discover the true source of

the funds.    STOs will often open legitimate businesses or have legitimate employment to

launder the illegal proceeds and comingle these illegal funds with legitimate income from the


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business or employment, to prevent law enforcement from discovering the true source of the

proceeds.

       9.      Websites such as, www.backpage.com, 1 www.adultsearch.com,

www.supermatchescort.com, wwww.portlandasianescort.com and others are often used by STOs

to advertise commercial sex services. I know that STOs will often advertise their services as

"massages" or "escorts" in an attempt to avoid detection by law enforcement. The term "escort"

is widely used as a euphemism for prostitution. I know that a legitimate "escort" is hired for an

extended period of time such as several hours and even days. An "escort" is expected to be

attractive and presentable in public. They are often used to stand-in as a date for specific

functions or entertainment for an evening. "Escorts" are paid for their time and their company

and sexual favors are not included as part of their package. Legitimate "escorts" or "massage"

in an attempt parlors do not list coded language for the services they provide such as: GFE

(Girlfriend Experience) or BBJ (Bare Blowjob ). I also know that legitimate "escorts" or

"massage" parlors do not typically advertise services posting sexually provocative photographs

or by providing age, height or the weight of the person providing the massage. Legitimate

"escort" and "massage" businesses typically do not operate from a motel room paid on a day-by-

day basis, nor from an apartment. I also know legitimate "escorts" and "masseuses" do not

perform sexual acts on their customers and therefore do not provide condoms or wear lingerie

when interacting with the customer.




        On April 6, 2018, www.backpage.com (a classified ad website) and affiliated websites
were seized and shut down by the United States Federal Government due to their promotion of
sex trafficking and prostitution.

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       10.      The STOs post on-line ads for "escorts" or "massages" that investigators

recognize as prostitution-related advertisements. The investigation has revealed the following

roles within a STO:

                a.     Customers - men who pay money for sexual acts.

                b.     Providers -individuals who perform sex acts for money.

                c.     Drivers-individuals who transport the providers and perform other

                       activities, such as: collecting proceeds, delivering food and other supplies.

                d.     Leasee - individuals who lease the apartments that are used as brothels.

                e.     Dispatcher - individuals who answer the calls/texts/emails (responses to

                       ads) from the customers and sets up "dates" within the computer and

                       notifies the provider.

                f.     Boss - a supervisor of one or more brothel locations.

        11.     Through this investigation, I have learned how STOs manage operations of the

online ads. When a customer responds to the ad and calls the number associated with the ad,

they are connected to "dispatch." Dispatch identifies the location of the customer and assigns

the customer to a specific provider (someone who performs sex acts for money) for a "date" (an

encounter for the purposes of engaging in a commercial sex act with the women). Dispatch then

notifies the provider that a "date" has been set.

        12.     STOs arrange apartments and hotels for the provider to stay in and use for

engaging in acts of prostitution. As part of the investigation, law enforcement has conducted

over twenty undercover sting operations in Portland, Oregon, targeting Asian "escort" ads. In

these sting operations, an undercover officer sets up a "date" using the contact phone number


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provided in the ad. After confirming the date and obtaining an address through the STO

dispatch, the undercover officer is told to notify dispatch when they have arrived. Once the

undercover has arrived, dispatch will provide the motel room number or apartment number.

        13.      Once inside the apartment, investigators notice very little furniture and that the

bedroom in the apartment appears to be only used for sex acts.       Investigators rarely see a

bedframe and often the mattress has just a sheet with a towel laid on top.     The nightstands next

to the bed usually have multiple unused condoms on or near them, towels, and various bottles of

oils and lubricants.   The clothing in the closets or in the suitcases consist of mainly oflingerie.

        14.      The STOs recruit women to work as providers from their respective countries

(generally China or other Asian countries) and the women generally speak very little English.

Some providers have indicated they are engaging in prostitution to pay back certain costs, such

as the cost of coming to the United States.

                                              Chen STO

        15.      For the past two years, I have been investigating sex trafficking, mainly focused

on Asian STOs. As the investigation unfolded, I learned multiple agencies (both local and

federal) across the country have encountered Asian STOs. My investigation revealed multiple

Asian STOs, the main one of which is an international sex trafficking organization (hereafter

referred to as the "Chen STO") operating throughout the United States, Canada, and Australia.

The following are some of the known subjects in the current investigation:

                 a.      Zongtao Chen, a.k.a "Mark" Chen - Chen is suspected of being the main

facilitator for an Asian STO operating in the United States, Canada, and Australia. Chen is

suspected of facilitating and coordinating the interstate and foreign travel of women, primarily


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Chinese national females ("CNFs"), for criminal sexual activity, and of using online websites

such as "supermatchescort.com" to promote prostitution.

                b.        Yan Wang, a.k.a. "Sarah" Wang-Wang is suspected of acting as

dispatch for the Chen STO by setting up "dates" for the CNF to engage in prostitution.

                 c.       Weixuan Zhou - Zhou is suspected of facilitating and recruiting CNFs in

China and North America to work as prostitutes and of financing voluminous amounts of

prostitution-related advertisements and domains.

                 d.       Ting Fu - Fu is suspected of being a boss and managing multiple brothels

in the state of Oregon.

        16.      Between June 16, 2016 and July 10, 2016, the FBI received approximately 19

anonymous tips submitted to Crime Stoppers of Oregon that identified Zongtao Chen, as a

facilitator for an Asian STO operating in Canada and the United States. Chen is specifically

named as the renter of several hotels and condominiums used by the STO in the United States

and Canada.

        17.      One tip on June 16, 2016, read,

                 International prostitution ring operating in Portland. When will
                 you shut down this operator? They offer unprotected sex acts.
                 l,000's of people are at health risk. Hotels and short term condo
                 rentals is the way they do business. Mark Chen from Toronto
                 may have a hand in the condo part of the business. He is a real
                 estate broker. Advertisement today in Backpage: *Portland Asian
                 Escort* Best Asian student *New Kelly 34DD*-19. Come to enjoy
                 the best Asian experience, new Kelly, 19, 34DD, lOOlbs, she will
                 rock your world. Portland Downtown in call 503-850-2545 or
                 647-687-7096, WeChat: aa585466383 www.nyasianangels.com.

        18.      Another tip received on June 23, 2016, read,



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                  Some tips for the international prostitution ring operating in your
                  city: Mark Chen is a real estate broker from Toronto. Leader?
                  Tenant Name: Zong Tao Chen (aka Mark Chen) Contact Phone
                  Number 416-732-4321. Numbers used: WeChat: aa5854660383,
                  call or text: 206-866-6735, call or text: 323-498-1660 347-594-
                  5090, call or text: 503-850-2545 520-433-9310 .....

with several other phone numbers and addresses listed.

                                     Online Presence of the STO

            19.   The Chen STO uses www.supermatchescort.com as their main website to post

online prostitution-related advertisements. The "supermatchescort.com" website displays

multiple pictures of Asian women posing in a provocative manner, often wearing lingerie or

bikinis. The "supermatchescort.com" website has a menu listing their "supermatch girls", the

rates charged, a description of the site, a way to contact the site to set up "dates", employment, a

press room, and the "girls in your city." Many of the advertisements also provide a description,

using coded language such as BBJ (Bare Blowjob ), GFE (Girl Friend Experience -prostitution

acts involving kissing) of the prostitution-related services they offer. The

"supermatchescort.com" website also links to an email address, supermatchescort@gmail.com, a

phone number, and a WeChat contact, which allows individuals to directly contact the site and is

used to carry out the criminal activities of the organization. (See Image A listed below as well

as Attached Video 1, which is a December 2018 law enforcement generated video showing how

an individual can navigate through the "supermatchescort.com" site). This site is still active as

of January 13, 2019.




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Image A




          20.    The "supermatchescort.com" website directly services the following areas:

   Albuquerque, NM; Anaheim, CA; Atlanta, GA; Augusta, GA; Austin, TX; Bakersfield, CA;

   Beaverton, OR; Bellevue, WA; Bismarck, ND; Brisbane, Australia; Calgary, Canada; Camarillo,

   CA; Cincinnati, OH; Dallas, TX; Denver, CO; Des Moines, IA; Detroit, MI; Edmonton, Canada;

   Fairfax, VA; Fargo, ND; Fort Collins, CO; Fort Wayne, IN; Grand Junction, CO; Grand Rapids,

   MI; Green Bay, WI; Halifax, Canada; Houston, TX; Inglewood, CA; Kansas City, MO; Los

   Angeles, CA; Madison, WI; Melbourne, Australia; Milwaukie, WI; Minneapolis, MN; Minot,

   ND; New York, NY; Newark, CA; Niagara Falls, Canada; Oakland, CA; Odessa, TX; Oklahoma

   City, OK; Ontario, Canada; Palmdale, CA; Philadelphia PA; Portland, OR; Provo, UT; Red

   Reed, Canada; Renton, WA; Sacramento, CA; Salt Lake City, UT; San Diego, CA; Seattle, WA;

   Sioux Falls, SD; South Bend, IN; Spokane, WA; Springfield, MO; St. Paul, MN; Sydney,

   Australia; Tacoma, WA; Toronto, Canada; Tucson, AZ; Warwick, RI; Williston, ND; Windsor,

   Canada; Winnipeg, Canada; and Yakima, WA.


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          21.         On the main page of the website "supermatchescort.com", it reads, "about us,"

   and then below reads, "Super Match Escort, arrange you to meet with our professional Massages.

   They come from many different backgrounds. They are happy and fun to be accompanying

   with, let our Massages bring you the total enjoyment oflife." The advertisements are arranged

   by city. (See Image B).

                                                    6476877096                                                                    customer service
                                           E :v!:.ul:q1pcrn1atchs·srnn(ii ~n1:,il .com




                   OUR RATES
                    ABOFI l.'S

Image B            CONTACT CS
                  E.:\JPOLY~IE'.\T                                Albuquerque NM         Anaheim CA         Atlanta GA
                   PHL'iSHOmt
                                          Augusta GA              Austin TX              Bakersfield CA     Bismarck ND
                GIRLS IN YOUR CITY>»
                                           Brisbane. Al!          Calgary i\B            Camarillo CA       Dall,1s TX

                                           Denver Co              Des !i.loines, lA      Detroit Ml         Edmonron AB
                live Qssisl
                 Click Hent                Fairfax VA             F'argo ND              Fon Collins CO     Fort \Vaync IN

                                          Grand Junction CO       Grand Rapids, Ml       Green Bay WI       Halifax NS

                                           Housrnn TX             Inglewood CA           Kansas City iv10   Los Angeles. CA

                                           tv1adison \VI          :rvlcibournc AU        \lilwaukcc \VI     l\-1inncapolis. \In

                                           Minot ND               New York. NY           Newark. CA         Niagara Falls. ON

                   6476877096             Oakland CA              Odessa TX              Oklahama City      Ontario CA

                                           Palmdale CA            Philadelphia PA                           Provo, UT

                                           Red Recd AB            Sacra1ncnto CA         Salt Lake City     Szin Diego. CA

                                           Seattle WA             Sioux Falls SD         South Bend IN      Spokane WA

                                           Springfield MO         Sydney AU              Tacoma \VA         Toronto ON

                                           Tucson AZ              Warwick RI             Williston ND       \Vindsor ON

                                           Winnipeg MB            Yakima WA



          22.         A majority of the cities have a secondary website that can be accessed from the

   "supermatchescort.com" website. When you click on "Portland, OR," you are directed to

   providers available within Portland, OR. Each provider's listings contain a link titled "Portland

   Asian Escort," which will redirect you to the website, "portlandasianescort.com." (see Attached

   Video 1, listed above, for a reference to each city).

          23.          One of the listings for Portland, OR was for "Asian Sophia" and read as follows:


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                       Asian Sophia
                       Beaverton/Tigard/Airport
                       503-765-9147 or 6362872242
                       Incall/outcall 24/7
                       PORTLAND ASIAN ESCORT
                       Portland Escort Young, pretty, sexy

    (See Image C).

                                                                                                                           customer service
                                              E-fvtail :supcnnatth,,,.~:-;cortiii' grn~1il .Ct}n1




                     Ol'R RATF~'i
Image C               ABOl'Tl'S
                     CONTACT t'S
                    DIPOLn!ENT
                     PRESSROml                          Asian Sophia
                  GIRJ.S IN YOUR CITY»>                 Beaverton rr,gard/ Airport
                                                        503-765-9147 or 6362872242

                                                        incall/outcall 24/7




                                          _...L   ~     Asian Jenny
                                                        Tigard: Asian Jenny
                                                        503-765-9147 or 6362872242

                                                        slim young asian

                                                        Portland Escort

                                                        Young Asian




            24.         I know from my training and experience that "Incall/Outcall" are common terms

    used in prostitution advertisements. "Incall" is where the customer comes to the provider's

     location and "Outcall'' is where the provider goes to the customer's location.

            25.         On the website, www.portlandasianescort.com, the homepage states,

                        Portland Asian Escort Tel: 503-765-9147 or 6362872242,
                        WeChat:aa5854660383, 24 Hrs Service Portland Escorts Service-
                        Portland Asian Escort Agencies - Female Escorts Service Portland
                        Welcome to the gold standard of Portland Escort Services. We
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                        offers the best selection of Portland Escorts at the best price
                        imaginable. Our Escort Girls are amongst the most beautiful,
                        charming and fun ladies in Portland.




Image D




                                               Horne   I   Girls   I   Rate   I   Links   I   Contact
                                               Copyrights 2016 All rights Reserved l Portland Escort




                 26.    One advertisement on the Portland website states the following on the photograph

          of an Asian female, "Shower Together, Bbj-kissing-69 Style, Young, Pretty, Sweet, Wet Tight

          Pussy, Licking-sucking-touching, Girlfriend Experience everything u want."

                 27.    Based on my experience, I know Bbj is a common term used among prostitution

          related ads to mean Bare blow job which is oral sex without a condom. I also know 69 is a

          common term for an inverted sexual position where simultaneous oral sex occurs.

                 28.    The email address under the contact portion of this website is

          supermatchescort@gmail.com. (See Image E).




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Image E




                                                                                                         i




            29.    On or about March 19, 2018, a Grand Jury subpoena return from Google for

     subscriber information related to the email address supermatchescort@gmail.com identified the

     subscriber's name as Zongtao Chen, with a recovery email of markzongtaochen@gmail.com and

     a phone number of 416-732-4321.       Through subpoena returns and a search of law enforcement

     databases, I discovered other emails linked to Chen: markztchen@yahoo.ca,

     markzongtaochen@gmail.com, and chen_ zong_tao@hotmail.com.

                           Customs and Border Patrol (CBP) contact with Chen

            30.    According to a report written by CBP Officer Baker, on May 12, 2016 the

     Alexandria Bay, (New York point of entry) encountered an Ontario registered vehicle bearing

     tag BMMK.280.        Zong Tao Chen was seeking entry to visit his alleged girlfriend in New York,

     NY for three days.     Chen was referred to a secondary inspection where he was interviewed by

     CBP Officer Barkley.      The following is a summary of the interview with Chen:


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            Chen stated he was a self-employed website designer and worked from home.
            He spent approximately three weeks in the United States on his last visit and
            returned home to Unionville, Ontario for three days to see his children and other
            friends. During the interview, Chen received numerous calls and messages on
            his cell phone. It was further discovered Chen was carrying the following: two
            cell phones, his wallet and papers related to a CTBC Bank account opened by
            Chen. The CTBC Bank paperwork was for a wire transfer in the amount of
            $30,000 USD from Chen to Rui Li. Chen stated Rui Li was his ex-wife. The
            paperwork showed Chen had a total balance of $49,490 in the CTBC Bank in NY
            account. The wallet contained several credit cards in his name as well as several
            business cards for banks in the New York City area.

            Chen's Samsung Galaxy S5 was viewed and many images were found of Asian
            females posing provocatively. The phone also contained photos and related
            images that were consistent with advertisements relating to prostitution/escorts.
            Chen initially denied that he was operating or posting ads for escorts via the
            internet. The messages within the cell phone lists identified the owner as Mark C.
            Chen initially stated Mark C was a friend of his and later stated in the interview
            that he is actually Mark C. Chen stated he could not remember the address of his
            girlfriend even though he just spent three weeks with her in NYC. Chen later
            admitted that he posts ads for escorts on Backpage.com and several other
            websites. Chen also stated he handles the calls and arranges the dates. Chen
            initially said he only received $1 to $1.50 per ad for posting the ads, but later
            admitted that he actually received between eight and ten percent of the money the
            escort made from her date. Chen also stated that he sometimes arranges drivers
            for the girls. CBP observed that Chen was very evasive during the interview and
            repeatedly asked the same questions in order to get an answer.




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                                   Email Returns for Hotmail Email Address

                    Information showing chen_zong_tao@Jwtmail.com belongs to Mark Chen

                 31.    A search warrant return from Hotmail for the content of the email address

          chen_ zong_tao@hotmail.com demonstrates that Mark Chen used the email address for personal

          use, including documenting the U.S. addresses he used, presumably for bank cards. (See Image

          F).




  Image F




                 32.    Another email displays a picture of Mark, which image is consistent with the

          appearance of the Mark Chen indicted in this case: (See Image G)




Image G




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          Hotmail email address linked to other emails, including supermatchescort@gmail.com

             33.       The warrant return showed that the Hotmail email address received emails from

     "Zongtao Chen" using the email address supermatchescort@gmail.com with two 5-digit numbers

     and the website escorts-canada.com in the subject line. (See Image H). This type of message

     lacking details and context is consistent with the same person using both email addresses.

                  Subject: http://www.escorts-canada.com
                  from: Zongtao Chen <supermatchescort@gmail.com>
Image H           Date: 4/7/2018 2:10 PM
                  To: zong,, tao <cheo _zong_tao@hotmail.com>

                  22442
                   22445
             34.        The Hotmail email address also received email messages from its own email

     address with a prostitution-related website in the subject and body of the message. I later

     learned that Mark Chen suggested another STO use this website to advertise prostitution

     services.

              Subject: slopt.hegames .cot'l'I
                 From: zong_tao <cnen_zong_tao@hotm~il.com>
                 Date. 2/27/2017 3:09 AM
                 To: zong_tao <Chen_lOl\g_tao@hotmaiLcom>

                 skipthegimt-s .com


             35.        The Hotmail address also received an email from markzongtaochen@gmail.com

     with the subject "email account" and body text "my email," which may indicate he wanted to

     keep track of which email addresses he had set up for himself. (See Image I).




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            subject: email account
            From: Zongtao Chen <markzongt;iochcm@gmail.cum>
Image I     Date: 12/15/2016 S~S6 PM
            To: '' chen_zong,_tao@hotmail.com" <chen __ zong_ tao@lhotmatl.com>




           36.     Another email, which was sent to the Hotmail address from

    supermatchescorts@gmail.com, appears to be several examples in English for responses to men

    looking for dates.       The responses contain what appears to be the addresses of brothels or hotels

    used as brothels in different cities across the United States and Canada.             (See Image J).

             Subject: address
             From: Zongtao Chen <supermatchescort@gmail.com>
             Date: 12/16/2016 7:57 AM
Image J      To: chen_;:ong_tao@hotmait.com




             Hi tnm,     r aria      ,11t Conm,ons inn - 5780 Wi!<st St, Halifax, NS ••.. what t i ~ will you come'

             Hi hun, I _,11 at 558 S Flor,e,ru::e St, Wichita 67209 •. wh.'llt time will yov come~

             Hi hun. l am at Resideru::e & Conference C!!'ntre - Ottawa Downtown             •   1se Hazel    st,
             Ottawa KlS ST:B(lcS). what time is good for you?

             Hi hu11, I    .:ill',   at 1828 S Wentworth Ave, ChicaesQ   n   60616-4955. what tiMe   win     you , ~
             hun? l40hh 180 h
             Hi 1nm, I am at 3:l60 Wccst 8th St, Los Angeles, <;18'005 - Palga Grand hotel •• ,,;'hat tillie
             will you come?


             Hi huo, I a,m working at 4950 s outlet center ctr, rues.on, ar SS.706, ... what ti- is
             good for yov?

             Hi hun. nice as:lan at 10168 114 st nw, ,e,dr,,onton. what ti~ i:,. good for you:> 140hh 240
             lh 100qv




            37.     In numerous undercover operations, some of which are outlined later in the

    affidavit, after law enforcement officers would contact the number from an escort advertisement,



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     law enforcement would receive a message addressed to "Hi hun" in a response similar to those

     above.

                                      Travel records/money transfers

              38.   The Hotmail email search warrant also revealed numerous emails containing

     records of money transfers from individuals with Asian female names to Chen, some of which I

     know are involved in the Chen STO.     I summarized the transaction details obtained from those

     emails, in part, below.   (See Image K).




Image K




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            39.             Of note, this investigation identified Lu Chen as a provider out of Sioux Falls,

    South Dakota, as detailed later in this affidavit.              Ting Fu has also been identified as a boss,

    managing multiple locations here in Portland, Oregon.

                                                        Hotels Booked

            40.             The Hotmail email search warrant also revealed numerous emails containing hotel

    reservations for individuals with Asian female names, one of which I later identified as a

    provider.       I summarized the reservation details obtained from those emails, in part, below. (See

    Image L).

                              Jun-18 NAME               HOTEL                         ADDRESS Of HOTEL
            '3rd-5th                Chia-Chi Yu         Candlewood Suites             2601 Abbott Plaza, omaha, NE 68110
            ;3rd-5th                Yen-Yi Su           Comfort Inn & Suites          4822 East Washington Avenue, Madison, WI 53704
            ;6th-8th                Yen-Yi Su           Rodeway inn & Suites          4400 s 27th Street, Milwaukee, WI 53221
Image L
            ;6th-loth               KwaiCWong           Microtel Inn & Suites         801 East 78th Street, Bloomington, MN 55420


                              May-18 NAME               HOTEL                         ADDRESS OF HOTEL
                10th-12th           Chia-Chi Yu         America's Best Value lnn      754 Horizon Drive, Grand Junction,    co 81506
            )12th-14th              Jianhong Li         Baymont                        120 W University Dr, Mishawaka, IN 46545
            1
                13-15               Mei-Huan Chen       Microtel Inn & Suites          3820 4th Avenue West, Williston, ND
            !14-16                  Ke Cheng            Clarion lnn & Suites           3370 East Battlefield Road, Springfield, MO 65804
            i15-18                  Mei-Huan Chen       Horne Place Lodge &Suites      150515th Avenue West, Williston, ND 58801
            ;18-20                  Yen-Yi Su           Supers                         5253 South Howell Avenue, Milwaukee, WI 53207
            ;18-20                  Chia-Yin Chang      Days lnn                       1964 University Avenue West, Saint Paul, MN 55104
            il8-20                  KwalCWong           Ramada by \fv'yndham           407 lyons Avenue, Sioux Falls, SD 57106
            [22-24                  Hong-Qin Wang       Extended Stay America          245 West Natick Road, Warwick, RI 02886
            !24-26                  Hong-Qin Wang       Extended Stay America          3747 29th Street South East, Grand Rapids, Ml 49512
            '
            !24-26                  Lixia Zha           Ramada by Wyndham              5601 Fortune Circle West, lndiapolls, IN 46241
            '26-28                  Yan ping Zhou       America's Best Value Inn       754 Horizon Drive, Grand Junction, CO 81506
            !26-28                  Lixia Zha           America's Best Value Inn       3401 South Keystone Avenue, Indianapolis, IN 46237
            !26-28                  Yimin Uang          Comfort Inn & Suites           4822 East Washington Avenue, Madison WI 53704
            i26-28                  Uxia Zha            Arn.ericas Best Value Inn      3401 South Keystone Avenue, Indianapolis, IN 46237
            ;28-30                  QirongYuan          Motel 6                        20 Jefferson Blvd, Warwick, RI 02888


                              Aug-17 NAME               HOTEL                          ADDRESS OF HOTEL
            I10th-13th              Jianhong Li         Extended Stay America          7956 lyndale Avenue S., Bloomington, MN 55420
            l1sth-11th              Youchun Xiong       Portland Travelodge            1200 Brighton Avenue, Portland, ME 04102
            '17th-18th              Youchun Xiong       Motel 6                        1 Riverside St, Portland, ME 04103
            !2nd-4th                Hong Chen           Quality Inn South Bluff        1165 S Bluff Street, St. George, UT 84770


                               Oct-17 NAME              HOTEL                          ADDRESS OF HOTEL
            !2nd-4th                Hong Chen           Quality Inn South Bluff        1165 S Bluff Street, St. George, UT 84770




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           41.     I also found numerous emails sent to Mark Chen requesting a rating or review of

   hotel stays across the United States, made in the names of Asian females.    (See Image M).


ImageM




                                         Transportation Booked

           42.     In the Hotmail email search returns, I discovered numerous flight reservations

   which appear to be made in the names of Asian females.      Some of the names used in the flight

    reservations correspond to names used for hotel reservations.   I summarized the flight details

    obtained from those emails, in part, below.   (See Image N).




ImageN




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           43.     I also found several reservations for Greyhound Bus travel to and from

    destinations the Chen STO uses for prostitution operations, with the exception of Bend, Oregon.

    I summarized the bus details obtained from those emails below.          (See Image 0).                                     Of note, one

    of the reservations specifically referenced billing "Zongtao," which I believe is a reference to

    billing Mark Chen.

.-------.DAft
  Image O  I




                                            WeChat and CHS

           44.     The Chen STO uses a mobile application called, "WeChat," to communicate,

    advertise, and send money. WeChat is a Chinese multi-purpose messaging, social media, and

    mobile payment application. WeChat provides text messaging, hold-to-talk voice

    messaging, broadcast (one-to-many) messaging, video calls and conferencing, video games,

    sharing of photographs and videos, and location sharing. It can exchange contacts with people

    nearby via Bluetooth. Users can send previously saved or live pictures and videos, name cards

    of other users, coupons, or current GPS locations with friends either individually or in a group

    chat. W eChat users can set up a W eChat account by entering their phone number and then their

    Usemame or ID. Users can customize their profile by adding a profile image, which is

    displayed during a conversation.
                                                                     '-..1,._.,,Llt..'-'   V -Jl.~Ji.'-.1'.all.   ...._,._...,,. •   .Lll..J::1.A..A...a.   .,,JV_L/
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       45.     WeChat users who have provided bank account information may use the

application to pay bills, order goods and services, transfer money to other users, and pay in stores

if the stores have WeChat payment options. Users can link their Chinese bank accounts, as well

as Visa, MasterCard and Japan Credit Bureau. WeChat Pay is a digital wallet service

incorporated into W eChat, which allows users to perform mobile payments and send money

between contacts. Although users receive immediate notification of the transaction, the WeChat

Pay system is not an instant payment instrument, because the funds transferred between

counterparties is not immediate. Every WeChat user has their own WeChat Payment account.

Users can acquire a balance by linking their W eChat account to their debit card, or by receiving

money from other users. Users who link their credit card can only make payments to vendors,

and cannot use this to top up WeChat balance. WeChat Pay can be used for digital payments.

        46.    A Confidential Human Source ("CHS"), who I have met with and whose true

identity I know, came to the attention of the FBI from an investigation conducted by Homeland

Security Investigations (HSI), Omaha Division. This investigation involved a STO, different

from the Chen STO, using Extended Stay motels for prostitution. One of the subjects within

their investigation was the CHS. The CHS, who speaks Mandarin Chinese, worked within the

STO and organized the hotels and "dates" for the providers in exchange for a portion of the

money collected from the commercial sex acts. The CHS agreed to cooperate in the

investigation of others involved in criminal activity in the hopes of future consideration. The

CHS has no formal charges pending. The CHS has previously been arrested for a few

misdemeanor prostitution charges and one felony prostitution-related charge.




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       47.       On May 31, 2018, I met with the CHS who told me that a man named Mark, later

identified as Mark Chen, has several brothels in multiple cities across the United States and

Canada.      In 2018, while working as a dispatcher for an unrelated STO, the CHS contacted Mark

via WeChat to see ifhe would help find work for the providers.       During this conversation, Mark

suggested certain cities where the CHS's providers could work and the expected number of

customers available daily in these locations.

       48.       Also on May 31, 2018, the CHS directed me to website, "ca.51."     The website

was mainly in Chinese, but at the top left was the word, "Canada" in English.     In the middle of

the website was a picture of an Asian male with glasses and next to the picture it read, "Mark

Chen, Sales Representative, Re/Max Realtron Realty, Inc."       The CHS identified this photograph

as the man she knows as "Mark."      This picture shows the same person as the one in the Hotmail

email address photo referenced above.     The website also listed phone number 416-732-4321

and email address markztchen@yahoo.ca.          An FBI linguist translated the webpage and further

discovered next to the name "Mark Chen" it stated, "Chen Zong Tao."

        49.      The CHS then navigated to Mark's WeChat contact card in the CHS's phone.

Mark's contact card contained a profile image of a red, orange, and yellow flower.     There were

two phone numbers listed for this contact: 416-732-4321 and 34 7-594-5090.

        50.      The CHS said that "Mark" texted her the following websites to use to post

advertisements for prostitution: www.adultsearch.com, www.skipthegames.com, and

www.adlist24.com.       While working as a dispatcher, the CHS learned that "Mark" also uses the

website "supermatchescort.com" to advertise providers who are involved in prostitution.




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          51.   On May 31, 2018, the CHS, in my presence, navigated to a group conversation

within WeChat. Within the group chat was the profile image of a red/orange and yellow flower,

which was the same WeChat image the CHS showed me for 'Mark."           In the conversation next

to the flower profile image was an advertisement.   The advertisement was translated as,

"Sincerely hiring/requesting female phone operator who knows computers, patient, hardworking,

responsible, contact via WeChat." (See Image P) .

                           .. SINCERElY HIRING/
                           REQUESTING FEMALE
Image P                    OPERATOR WHO KNOWS
                           COMPUTER PATIENl, HARD                                  Translation
                           WORKING RESPONSIBLE
                           CONTACT VIA



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                                   lt!Doo ~ffii1,e,, I.11:
                                                                                   Advertisement
                                   jA.Jltft!!f                                                      I
                                                                                                    !



           image


                                  WeChatID

          52.   The CHS explained that each brothel location (apartment and/or hotel) that Mark

operates has a separate WeChat group. Within each group, a dispatcher is also paired up with a

provider.

                                      CHS and Yan Wang

          53.   The CHS identified one of Mark's WeChat groups, which is associated with a

brothel operating out of a hotel in Omaha, Nebraska.     This WeChat group contains ten different



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                                                                         --   I   I



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people. Each person has their own profile image. This Omaha WeChat group includes Mark's

profile image. (See Image Q).




Image Q



                                                                              Wang




                                                                     Super 8 Motel
                                                                     Room302




       54.     The CHS stated that Mark monitors the numerous WeChat groups associated with

the STO. The CHS stated that, Yan Wang, a friend of theirs, who lives in the Los Angeles area

is currently working as a dispatcher for "Mark." The CHS identified Wang's WeChat profile

image within the Omaha group. The CHS worked as a dispatcher in 2017 with Wang in

California for a different STO. While working as dispatchers, the CHS and Wang shared the

same Apple iCloud and Store accounts. The email address that was associated to the Apple

iCloud account was "redmoon9d@grnail.com." The CHS learned that, as of September 2018,

Wang no longer uses that iCloud account because Wang believes it is not safe and someone

might find out where she is located.

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       55.    On June 27, 2018, the CHS provided a screenshot of a photo of a silver Mazda

bearing California tag 8AIV928. The CHS identified this vehicle as Wang's. The photograph

has a time stamp of May 11 5:54 p.m.

       56.    I know through a search oflaw enforcement databases the following about Yan

Wang: subscribes to phone numbers (562) 988-4830 and (891) 653-1911, registered vehicle

2012 Mazda bearing California tag 8AIV928, address on W 12th Street, Pomona, California.

       57.    On April 30, 2018, a cash withdrawal of $300.00 was made from Wang's

husband's Wells Fargo account ending in x1033. Bank surveillance footage showed Yan Wang

at the drive thru ATM (located at the Wells Fargo at 32881 U.S. Highway 79, Temecula, CA,

92592) in a Mazda vehicle with license plate number 8AIV928. Wang is not a co-signer on her

husband's account. (see Image Rand S)




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                                                                                                   Image S




       58.     Between April 10, 2018, and June 26, 2018, twelve transactions were captured on

bank surveillance footage for Bank of America account ending in x5100.                            Both Gotti Cheng and

Yan Wang are signors on this account.    Eleven of the twelve transactions were cash deposits

totaling $8,600.00.   The other transaction was a $500.00 cash withdrawal on April 25, 2018.

On this date, bank surveillance footage showed both Gotti Cheng and Yan Wang at a Bank of

America teller window.    Also on April, 25, 2018, two online banking transfers occurred that

transferred $640.00 from Yan Wang's Bank of America account ending in x3255 to the joint

account at Bank of America ending in x5100. (see image T and U)




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                                                                       Image T




                                                                          Image U




                       Folkspost- Chen STO's Online Scheduling Site

       59.     On July 3, 2018, the CHS provided a photographs/he received via the iCloud

account shared with Wang. I reviewed the picture, which was screenshot of a conversation that

occurred on June 5, 2018, between Yan Wang and Mark Chen. In this screenshot, Mark sends

the following to Wang, "folkspost.com/appt, User: lover, and Password: 6362872242." Wang

replies with a screenshot of a color-coded calendar. At the top of the calendar it reads,

"Folkspost Online .... " The CHS said that "Mark's" dispatchers use a computer to answer the



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customers' phone calls and then enters the "dates." This was a copy of the calendar listing the

dates.

         60.   On July 13, 2018, I executed a search warrant to Apple for the iCloud account:

"redmoon9d@gmail.com" (the email address linked to the iCloud account). On July 24, 2018,

Apple returned the search warrant results. Within the iCloud pictures folder was a screenshot of

a text message between Wang and Chen. This screenshot was the same as the screenshot

mentioned in the above paragraph.

         61.   Also within the pictures folder is an image of a screenshot with the main

webpage, www.folkspost.com displayed. Within that webpage the year "2012" appears and a

space to log in with a username and password.

                                    Search Warrant Returns

         62.   In September 2018, I obtained a search warrant for the information contained on

"folkspost.com" and executed the warrant on the server hosting company DreamHost/CT

Corporation. From these returns, which I received on December 4, 2018, and the CHS

information, I learned that the Chen STO uses "folkspost.com" as an online booking system,

mainly used by the dispatchers and Mark. I learned that the database operates as a calendaring

system. The image below shows an overview of the calendar of"dates" for 2018. (See Image

V and Attached Video 2 for an overview of the website). 2




2
         Attached Video 2, which was created by law enforcement from the search warrant
results, shows how an individual can navigate through the folkspost.com site.
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      63.    The image below shows the dates for the first week of April 2018. (See Image

W).




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                                  64.   Within the system, a user can sort the data by year, month, day, or a specific

provider. The website also contains a drop down menu to allow searching by Country (US,

Canada, Australia)/City (varying by Country). (See Image X).




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ImageX                              -
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         65.    The booking system also contains a "client" database, which appears to contain

  the customer's phone numbers. The client database is "searchable" by phone numbers. The

  client's phone number and number of visits are listed. (See Image Y).




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Image Y




            66.    Each date is color coded and viewed in the calendar as such: the time, the

     customer's phone number, the city, the provider, and the dispatcher. (See Image Z).




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Image Z




            67.     After the date is made, it is the dispatcher's responsibility to notify the provider,

     usually via the WeChat group.

                   Direct association between WeChat, Folkspost, and Mark Chen

            68.     According to a Sioux Falls Police Department report, on April 18, 2018, an

     employee of a hotel in the area of W 34th Street and S Carolyn Avenue contacted the Sioux Falls

     Police Department. The employee told the officers they believed the customer in room 406 was

     engaging in prostitution. The employee stated several men a day were visiting the room for less

     than an hour and the customer has paid for their room with cash.

            69.     On April 23, 2018, the Street Crime Unit was working in an undercover capacity

     and targeting on-line advertisements that they know, from their experience, are often used to

     advertise acts of prostitution. The undercover officer sent a text message to the number listed in

     the ad asking ifhe would be able to come see her (the escort posted in the ad). The phone

     number listed in the advertisement gave the same address to the hotel and stated their rates were

     $150 for a half hour (hh) and $200 for an hour (h). Just as the undercover officers were about to

     go to room 406, one of the officers witnessed a male knock on the door ofroom 406 and enter at

     7:51 p.m. The male exited the room at 8:01 p.m. and entered his vehicle. The officers

     conducted a traffic stop on that vehicle and learned: the male inside the vehicle found an

     advertisement on "adultsearch.com" and contacted the phone number listed in the advertisement

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using his phone. The man's phone number was (605) 359-4990. The officers observed a

strand of text messages starting at 6:51 p.m. The male sent a text message to the phone number

listed in the advertisement. The phone number responded, "Yes hon hi hon I am at 2725 South

Carolyn Avenue, Sioux Falls, South Dakota 57106. 150 hh 200h no black gentleman please.

What time is good for you honest?" The male scheduled a "date" for 7:45 p.m. When the male

stated he had arrived he received a text that said, "Room 406 come in now." He stated that he

received a "happy ending" after his massage. When asked what he meant by a "happy ending"

he stated a "hand job." A "hand job" is a common term used by people to describe the manual

stimulation of a man's penis until ejaculation. The male admitted to paying the woman inside

room 406, $150.00. He stated once he gave the woman (an Asian female) the $150.00, he took

off all his clothes and laid on the bed. He received a back massage for a little while and then

rolled over and got a hand job.

       70.     The undercover officers entered room 406, identified the Asian female as Lu

Chen and interviewed her. During the interview they learned the following: while using

W eChat, Lu Chen saw ads recruiting women for work. She reached out to one of the ads and

began speaking to an individual she called Zongtao Chen. She frequently referred to him as an

"owner." Zongtao Chen told her to come to Sioux Falls and to report to a specific hotel. Once

at the hotel, she said "operators" (dispatchers) began setting up "dates" for her and sending men

to her room. She did not know any of the name of the "operators." She showed the officers the

WeChat group "Sioux Falls 406." She sent portions of her income to Zongtao Chen. For

example, if she received $150.00 from a customer for a half hour, she would pay Zongtao Chen

$50; if she makes $200.00, she would send Zongtao Chen $80.00. She said she normally pays


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Zongtao Chen by contacting her sister in China and instructing her to pay Zongtao Chen in

Chinese money. A couple times, she has transferred Zongtao Chen money through her Wells

Fargo Bank account.

       71.      She showed officers Zongtao Chen's email address:

chen_zong_tao@hotmail.com and a phone number of 416-732-4321. The search warrant

returns of Mark Chen's Hotmail email revealed emails documenting multiple wire transfers from

Lu Chen to Mark Chen.

       72.      A review of Lu Chen's WeChat conversations revealed the following:

       73.      In one group that read "Sioux Falls 406," the beginning of the conversation

appears to start with names I recognized as being also users/dispatchers in "folkspost.com":

'juskson", "ferxio", ')aper." (Compare Image AA (WeChat message) and Image BB (folkspost

calendar).


 Image AA
                                                                                      Dispatchers




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       74.     I also observed another WeChat conversation between Lu Chen and Zongtao

Chen which revealed the following: On March 10, 2018, Zongtao Chen provides Lu Chen the

Days Inn hotel in St Paul, Minneapolis. (See Image CC). Then on March 21, 2018, he

provides his phone number, "416-732-4321" and the hotel "My Place hotels fargo" with an

address of "2555 55 th St, Fargo, ND 58104." (See Image DD). It is my undestanding that he

was asking Lu Chen to travel to these cities and hotels to engage in prostitution.




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       75.    Subsequently, on March 26, 2018 Zongtao Chen sends the following: (See Image

EE)                                   Image EE

              First name: zongtao
              Last name: chen
              Country: Canada
              Phone:4167324321




       76.     A review of the "folkspost.com" returns revealed that on April 23, 2018, the same

day as the undercover operation in Sioux Falls, a date was entered into the calendar from "7:30-

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   8:00 p.m., Sioux Fall- Jenny (faith)." The phone number within that appointment was (605)

   359-4990, which is the same number as belonged to the man who was interviewed after he left

   the hotel room. (See Image FF).



Image FF




                              Online Presence- Subject Domain Names

                 Seattle Backpage Investigation - Weixuan Zhou 's Involvement in STOs

           77.      In 2016, FBI Seattle Division was investigating STOs and suspected from reports

   and records that Weixan Zhou was a principal facilitator in a Chinese STO that was recruiting

   Chinese women in China and North America to work as prostitutes in the United States, and

   Canada. Seattle FBI determined the following:

                    a.     Zhou was financing voluminous amounts of prostitution-related Backpage

                       advertisements through the US and Canada. Zhou purchased airline
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                  tickets for Chinese females who had been arrested for prostitution and

                  received money in the form of cash deposits into his bank account and

                  through Western Union wires.

           b.     A Washington state search warrant was served on Backpage for any and

                  all records associated with the two phone numbers related to ads involving

                  undercover prostitution stings in June 2014, and all other ads that

                  identified as being likely related based upon similarities in grammar,

                  formatting, and language. Backpage's returns showed that all the ads

                  were purchased by four individuals all using the same e-mail account,

                  which was angelnetadvertisement@hotmail.com. The individuals who

                  purchased these ads included Zhou. Most of the IP addresses associated

                  with this email account in communication with Backpage were either from

                  the city of Guangzhou, Guangdong, China or from the province of

                  Ontario, Canada. Subsequent Backpage records also showed that Zhou

                  was operating in the Wes tern District of Washington, across the United

                  States, and in Canada and other countries.

            c.    The Backpage ads obtained were dated from November 2012 through

                  February 2016. The requests for Backpage records had been based upon

                  specific known phone numbers used in Backpage ads, or based upon

                  subject names, or e-mail addresses. Approximately 86,000 unique ads

                  have been collected. Of these ads, approximately 78,000 were purchased

                  by users using the e-mail address of angelnetadvertisement@hotmail.com


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                   (or a derivative that has "re" or "tor" added). The cost of these ads

                   totaled approximately $843,000.

            d.     The Backpage data also revealed that ads were being placed for cities all

                   across the United States. Seattle, Houston, Dallas, and the San Francisco

                   area had over 5,000 ads each in that three-year period. Chicago was the

                   next largest city in terms of ad volume.

            e.     Financial records obtained for Zhou show that in 2014 alone, Zhou spent

                   approximately $432,500 on Backpage ads (Wells Fargo credit card ending

                   in 4578). Zhou's mother, Xiaolin Chen spent approximately $111,596 on

                   Backpage ads from approximately January 2015 to June 2015.

            f.     A search for domain names registered to Zhou revealed that he has

                   registered domain names that also reference the e-mail address

                   bata_intl@hotmail.com and rastait_mz@hotmail.com. Lunarpages was

                   the host of these web sites. Records from Lunarpages were obtained, and

                   they revealed that Lunarpages hosted 228 web sites. Of these sites, 227

                   were paid for by a credit card issued to Xiaolin Chen (Zhou's mother).

                   Investigation determined that of these 227 sites, 147 were still active as of

                   March 2016. One of the sites, Lunarpages listed as being paid for by

                   Zhou using the e-mail address ofbata_intl@hotmail.com. This particular

                   site appeared to be related to a bike parts business. These sites, with the

                   exception of the site financed by Zhou, were as follows: (see Image H)




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                             Subject Domain Names in Chen STO

       78.     In the current, Portland-based investigation, I have found approximately 300

active websites that I believe the Chen STO uses or has used as online solicitations for Asian

prostitution. Of the 300, approximately twenty-five of the domains are hyperlinked within the

"supermatchescort.com" website and associated to the email supermatchescort@gmail.com. (See

Image HH, a compilation of some of the 300 homepages)

         Image HH




       79.     On or about November 2018, the FBI accessed publicly available information on

twenty-five domains associated with the email address supermatchescort@gmail.com.             The

domains were queried through Domaintools (an open source tool), which queries the following:
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 WHOIS records, passive Domain Name Service (DNS) data, IP addresses, hosting data, and

 other DNS information.             (See Image II, the twenty-five domain names).                This information

 revealed that the twenty-five domains were hosted on IP 64.50.176.48, along with a significant

 number of other domains. Hundreds of these domains appeared to have been registered to

 Weixuan Zhou through Domain.com, LLC, with historical registrant email information identified

 as bata_intl@hotmail.com or rastait_mz@hotmail.com. 3

                 lwww.supermatchescort.com                  www.saltlakecityasianescort.com
                 l•lfWw.asianes.:rotsatlanta.com            www.sandiegoasianescort.com
                 !wwv,l.da!lasescortasian.com               wwv>1.seatt!easianescorts.com
Image II          www.denverescortasian.com                 www.siouKfallsaslanescort.com
                  www.fargoasianescort.com                  www.tacomaasianescort.com
                  W\¥'.M.fortcoliinsasianescort.com         www.tucs.onaslanescort.com
                  www.kansasasianescort.com                 www.providenceasianescort.com
                  www.laasianescort.com                     www.calgaryasianescort.com
                  www.mi!waukeeasianescort.com              www.torontoescortsasian.com
                 · www.mirmeapolisasianescort.com           wv,Jw .edmontonasianescort.com
                  wv,rw.nyescortasian.com                   W\¥'.M.melboumeescortss.com
                  www.oakia11dasia11escort.com              www.sydneyasianescorts.com
                  www.portlandasianescort.com



           80.    Grand Jury subpoena records and returns from Domain.com revealed that for all

 twenty-five domain names, the subscriber was W eixuan Zhou, with an email address of

 rastait_mz@hotmail.com, a telephone number of 213-431-0920. The billing information for

 this account was as follows: Card holder name: Weixuan Zhou; Billing Address: ti yu lu no.

 613 Guang Zhou, China.

           81.    Credit card activity shows W eixuan Zhou paying Domain.com for these domains

 from August 2012 to June 2018. Financial records for Zhou, from August 16, 2012 through

 June 1, 2018, show payments made via credit card to Domain.com totaling $11,202.04. One

 specific example shows that Zhou's Wells Fargo credit card made multiple payments to




 3
          As of January 2019, several of these domains are now set to resolve to IP 64.50.169.107.
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Domain.com in September 2014. This credit card's September 2014 balance was paid down

from Weixuan Zhou's Wells Fargo checking account. The source of these funds originated

from cash deposits at banks in Texas, Colorado, Oregon, Washington, and California.

         82.   On October 26, 2018, a Grand Jury subpoena return to PayPal showed that

beginning on or around February 15, 2018, and occurring through October 10, 2018, the PayPal

account linked to rastait_mz@hotmail.com sent 147 transactions totaling $6,150.14 to

Domain.com. The subpoena return also showed on or around January 31, 2016, through

September 2017, the PayPal account linked to bata_intl@hotmail.com sent 169 transactions

totaling $10,241.74 to Domain.com. The total payments sent to Domain.com from Zhou's two

PayPal accounts were approximately $16,391.88.

         83.   Lunarpages.com, a hosting service provider located in California, provided the

registration information for IP address 64.50.176.48, which is where supermatchescort.com and

others are hosted. The Lunarpages.com information showed that the associated domain name

for the IP address server is angelnethost.com, the account owner is W eixuan Zhou, user name

angel165, email address rastait_mz@hotmail.com, address tian xing bie lu no.106, Shang Hai,

China.

         84.   On or about March 1, 2017, Zongtao Chen's Bank of America checking account

ending in x9683 made a purchase of $77.70 to Lunarpages Webhost. On or about March 9,

201 7, this amount was returned to the same bank account.




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                            Chen STO presence in Portland, Oregon

       85.     During this investigation, we have identified multiple locations which are being

used as brothels along with locations that are associated to members of the Chen STO. The

locations are as follows:

                                            Location 1

                              13957 Ronald Court, Beaverton, OR

        86.    On March 6, 2018, Portland Police Bureau (PPB) Officer Mike Gallagher was

targeting on-line advertisements that we know, from our experience, are often used to advertise

acts of prostitution. Officer Gallagher found an ad that was titled "503-616-3617*Portland

Asian Escort*Young Asian best service team*New Erica 34DD*." The body of the ad stated:

               "503-616-3617 Portland Asian Escort
               22 53 34dd. l0Olbs
               Best service ever, she will rock your world
               Call/text: 503-616-3617 or 503-850-2545
               Wechat:aa5854660383

        87.     Officer Gallagher sent a text message to the number listed in the ad asking if he

would be able to come see her (the escort posted in the ad). Officer Gallagher received the

response, "hi hun I am at 13285 SW Hawks Beard St, Tigard, Oregon 97223 ... 140/hh 180/h NO

Black gentlemen Plz what time is good for you honey?" We recognized the reference to

"140hh" and "180hh" to be common prostitution references referring to charging the customer

$140 for a half-hour and $180 for an hour to be with the provider. Once Officer Gallagher

texted he arrived, the number responded, "Sygnii apt, drive building 8 room 812." I know

"Portland Asian Escort" and the WeChat ID "aa5854660383" is used by the Chen STO to




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coordinate his prostitution related business and we have seen this in multiple Chen STO

advertisements. After the date was scheduled, we did not follow through with it.

        88.      On March 27, 2018, a Grand Jury subpoena return from the Syngii Apartments,

13285 SW Hawks Beard St, Tigard, Oregon, for the records of all the information associated

with the lease agreement for 13285 SW Hawks Beard St, Apartment 812 Tigard, Oregon

revealed the following:

                 Resident Name: Ting Fu
                 Phone Number: 678-216-9756
                 Previous Address: 8412 NW 8th Street Miami, FL 33126

        89.      On or about May 21, 2018, Portland Police Bureau (PPB) Officer Mike Gallagher

again targeted on-line advertisements that we know, from our experience, are often used to

advertise acts of prostitution. Officer Gallagher found an ad that was titled "503-616-

3617*Portland Asian Escort*Young Asian best service team*New Erica 34DD* ." The body of

the ad stated:

                 "503-616-3617 Portland Asian Escort
                 22 53 34dd. 10Olbs
                 Best service ever, she will rock your world
                 Call/text: 503-616-3617 or 503-850-2545
                 Wechat: aa5854660383

Officer Gallagher sent a text message to the number listed in the ad asking if he would be able to

come see her (the escort posted in the ad). Officer Gallagher received the response, "hi hun I

am at 8364 SW Pfaffle Street, Portland, Oregon 97223 ... 140hh 180h NO Black gentlemen Plz

what time is good for you honey?" We recognized the reference to "140hh" and "180hh" to be

common prostitution references referring to charging the customer $140 for a half-hour and $180

for an hour to be with the provider as above.


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       90.     On May 21, 2018, I spoke with the property manager from the Carriage House

Apartments, at 8364 SW Pfaffle Street, Portland, Oregon. During the conversation I learned

that the property management crew and her noted several different men frequenting 8364 SW

Pfaffle Street apartment 109 on a daily basis. I provided her with my card.

       91.     On or about May 23, 2018, I received an email from a property manager from the

Carriage House Apartments. The manager advised that they received anonymous mail which

contained a letter, a copy of an advertisement, and a copy of a text message conversation:

               Just a heads-up, but you have Chinese prostitutes working in your apartment now.
               I suspect they just took out the lease recently. But you definitely want to get rid
               of them ASAP. Talk with Building Management people at: Willow Grove
               Apartments 11981 SW Center Street, Beaverton, Oregon 97005 Phone: 503-626-
               6325 Or Syngii Apartments 13435 SW Hawks Beard Street Tigard, 97223 503-
               926-6385. They had the same problem. You will have men coming and going
               all day, and not good people.

       92.     An enclosed copy of an Asian ad from the website, www.adultsearch.com, under

the Portland, Oregon Female Escorts Section read as such:

               Asian Jenny-(503) 765-9147
               Portland, Oregon Female Escort Portland Asian Escort 503-765-9147
               Phone: 503-765-9147
               Email: supermatchescort@grnail.com
               Website: http://www.portlandasianescort.com

       93.     An enclosed copy of the text message showed a conversation to 503-765-9147

which read:

               "hi hun I am at 8364 SW Pfaffle St, Portland OR 97223 ... l 40hh 180h NO Black
               gentlemen Plz what time is good for you honey?"

        94.    On June 19, 2018, a Grand Jury subpoena return from the Carriage House

Apartments, for the records of all the information associated with the lease agreement for 8364

SW Pfaffle St, Apartment 109 Portland OR 97223 revealed the following:
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               Resident Name: ChaoDan Wang
               Phone Number: 503-875-9755
               Vehicle: GMC Arcadia California tag 7VMN764

       95.     On September 26, 2018, I was notified by the Carriage House Apartment manager

that their maintenance staff needed to do a walk-through of 8364 SW Pfaffle Street, Apartment

109, Tigard, Oregon 97223. The on-site manager provided the tenant( s) of apartment 109 a 24-

hour legal entrance notice.

       96.     On September 27, 2018, at approximately 11 :00 a.m., with the permission of the

on-site manager, I attended a walk-through of 8364 SW Pfaffle Street, Apartment 109, Tigard,

Oregon 97223 with one of the maintenance staff. When he knocked on the door, an Asian

female wearing a robe and slippers answered the door. The maintenance staff explained why

we were there. The Asian female stated she didn't speak English and then proceeded to call

someone several times. After explaining again the purpose of being there, the Asian female told

us to come in. Inside the apartment were two bedrooms and two bathrooms with minimal

furniture and no lights on. One bedroom was bare besides a couple of empty shopping bags.

The other bedroom had a box spring on the floor with the mattress on top. A towel was laid on

top of the mattress sheet and next to the mattress was a plastic drawer organizer with lubrication

and a small lamp illuminating red.

        97.    The maintenance staff and I went back to the leasing office to see the on-site

manager. While speaking with the on-site manager, she received a phone call from (503) 875-

9755. The on-site manager stated this phone number was the lady who leased the apartment,

who is ChaoDan Wang. ChaoDan Wang told the on-site manager she would have a "moving"




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and "cleaning" crew come in over the weekend and she would be at the leasing office at 10 a.m.

on Monday morning.

        98.    Based on my training and experience, and encounters with other known brothels

ran by this organization I recognized this location to be a working brothel because of the

following: an Asian female in a robe answered the door, the Asian female stated she spoke very

little English and attempted to call someone several times before letting us into the apartment,

there was minimal furniture within the apartment, only one bed in a two bedroom apartment with

the other bedroom being completely empty, the bed was on a box spring on the floor with a

towel laid on top of the sheet, there was a "red light" within the lamp in the bedroom, next to the

bed on top of a plastic drawer container were tissues, lubrication and lotion.

        99.    Between September 14th and 17th, 2018, video surveillance of 8364 Pfaffle Street,

Apartment 109, Portland, Oregon, showed that each day approximately seven to ten different

men would arrive at the door, knock and enter. The length of stay varied from 15 minutes to an

hour.

        100.   On September 30, 2018 I noted on video surveillance several Asian males and

females moving furniture out of 8364 SW Pfaffle St, Apartment 109, Portland, OR 97223. I

responded to the location and conducted physical surveillance. There were two vehicles parked

in front of apartment 109:

        •      white 2017 Lexus bearing Georgia tag CHP2297

        •      white 2014 Chevy Silverado bearing Oregon tag 345GSK

The furniture from the apartment was placed into the bed of the Chevy Silverado. Both vehicles

exited the apartment complex. The Lexus traveled east on SW Pfaffle Street and the Chevy


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Silverado traveled west on SW Pfaffle Street. I followed the Chevy Silverado west on SW

Pfaffle St and then north on SW Hall Boulevard. The Chevy Silverado made no stops in

between and ended at 13957 SW Ronald Court, Beaverton, OR 97006. I observed the white

Lexus above also at the address. The furniture from the truck was downloaded and brought into

the garage of the Ronald Court address.

       101.    On October 19, 2018, physical surveillance observed two Asian people exit the

residence of 13957 SW Ronald Court, Beaverton, OR, and enter a white Lexus bearing Georgia

tag CHP2297 which was parked in the driveway. The vehicle was observed by Beaverton

Police Department and a traffic stop was conducted. The two occupants within the vehicle were

identified as: Yang Fan and Ting Fu. Both of the occupant's identification were associated with

an address of: 8412 NW 8th Street, Miami, FL 33126. A search oflaw enforcement databases

revealed the vehicle was registered to Dong Pan and Chuanyu Hotpot LLC.

       102.    Since October 2018, both physical and video surveillance has observed Ting Fu,

at the residence of 13957 SW Ronald Court, Beaverton, OR, on almost a daily basis. Agents

have seen her both enter and exit the residence throughout the day. Agents have also repeatedly

seen the white 2017 Lexus bearing Georgia tag CHP2297 at this residence. Based upon our

repeated observations of the residence I believe that Ting Fu is a resident at the 13957 SW

Ronald Court, Beaverton, Oregon. As noted above, Ting Fu is suspected of being a local boss

in Portland, OR for the Chen STO. We have also found records in which she is identified as

sending money to Mark Chen and it appears that she helps manage and run local providers. I

believe she will have records and items related to her criminal activities within the residence.




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       103.    On October 22, 2018, law enforcement targeted on-line advertisements that we

know, from our experience, are often used to advertise acts of prostitution, specifically from the

website, "supermatchescort.com." Under the section, "Girls in your city" and "Portland, OR."

two advertisements listing the same phone number read:

               Asian Jenny
               Tigard: Asian Jenny
               503-765-9147
               Slim young Asian
               Portland Escort
               Young Asian
               5037659147
               www.portlandasianescort.com

               Asian Sophia
               Beaverton/Tigard/Airport
               503-765-9147 or 636-287-2242
               In call/outcall 24/7
               Portland Asian Escort
               Portland Escort
               Beaverton/Tigard/Airport

        104.   Law enforcement sent a series of text messages to phone number (503)765-9147,

in an undercover capacity, in attempt to set up a "date."   Within the text thread, two different

addresses were given:

               "hi hun I am at 590 NW Lost Springs Terrace, Portland, OR 97229 .. .140hh 180h..
               NO Black gentlemen Plz what time is good for you honey?"


                "hi hun I am at 13009 SW 68th Pkwy, Tigard, OR 97223 ... 140hh 180h..NO Black
                gentlemen Plz what time is good for you honey?"

        105.    On October 28, 2018, I made contact with the General Manager for the Extended

Stay, 13009 SW 68 th Parkway, Tigard, OR.      The General Manager advised that room 317 had

an occupant named ChaoDan Wang check in on October 4, 2018.


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        106.     The General Manager advised Wang checked in with a Chinese passport and

credit card.    She extended her stay on October 10, 2018.    The General Manager advised after

watching the video surveillance it appears a different Asian female extends their stay on October

18th, 25th and 28th and paid with cash each time.     I recognized that both Asian females in the

video surveillance appeared to match the description of the two Asian females associated with

video surveillance from 8364 SW Pfaffle Street, Apartment 109, Portland, Oregon.

                                         Locations 2 and 3

                       (2) -1030 SW Jefferson Avenue, Portland, OR and

                (3) - 410 NW Lost Springs Terrace, Apartment 108, Portland, OR

        107.     On January 5, 2018, the Portland Police Bureau (PPB) Sex Trafficking Unit and I

conducted an operation related to investigating prostitution activity that was occurring in the

greater Portland, Oregon metropolitan area.     As part of this investigation we were targeting on-

line advertisements that we know, from our experience, are often used to advertise acts of

prostitution. Officer Gallagher found an ad on the website "Backpage.com" under the section,

"women seeking men." The ad was titled "646-670-3097." The Backpage post ID# 23065852

was attached to the ad. The ad had several photos and a video of Asian women posing

provocatively or in lingerie.

        I 08.    Officer Gallagher sent a text message to the number listed in the ad asking if he

would be able to come see her (the escort posted in the ad). Through back and forth text

message conversations, an agreement was made to meet around 4:15-4:30 p.m. for an hour and a

payment for $140.00. The address of 1030 SW Jefferson Street was then sent by the person to

Officer Gallagher. Once Officer Gallagher arrived at the apartments located at I 030 SW


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Jefferson Street, in Portland, Oregon, Officer Gallagher followed another tenant into the building

since the building has a secured front door. He then waited for the next text message which told

him to go to apartment number 340. Officer Gallagher knocked on the door of the apartment

and an Asian female (later identified as Rong Zhang) answered the door wearing a sheer, very

short teddy and heels holding a cell phone in her hand. Officer Gallagher noticed once inside

she was texting on a black color phone. Officer Gallagher then announced that he was a police

officer with the Portland Police Bureau. The phone she was holding was placed on the kitchen

counter by Officer Gallagher.

       109.    When the Portland Police Bureau Sex Trafficking Unit and I entered the

apartment we observed the following inside the studio apartment: a minimal amount of food; a

minimal amount of furniture; a suitcase filled with lingerie; Costco items in bulk; loads of white

towels; money wire transfer receipts; a bed with a towel laid down on it; and, garbage bag full of

unused condoms.

        110.   Zhang was read her Miranda rights and stated she understood but refused to sign

anything. She gave verbal consent to search the apartment. Zhang was shown the four phones

and tablet that were found inside the apartment and asked if they belonged to her, she nodded

yes. When asked, Zhang showed the investigators the password to her locked devices. Zhang

refused to speak any further with investigators and refused to sign the consent to search form for

investigators. PPB seized the devices and left Zhang a property receipt. Custody of the

Devices was then transferred to the FBI for further extraction and analyzing.

        111.   On December 21, 2018, Task Force Officer (TFO) Chad Opitz and SA Piniewski

conducted an operation related to the investigation of prostitution activity occurring on the


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website "supermatchescort.com" in Portland, Oregon.     TFO Opitz found an ad on the website

"supermatchescort.com" under the section, "Girls in your city" and "Portland, OR."   The phone

number "647-687-7096" was listed on the main/home page of the website and under the section

for, "Portland, OR" two advertisements listing the same phone number read:

              Asian Jenny
              Tigard: Asian Jenny
              503-765-9147 or 636-287-2242
              Slim young Asian
              Portland Escort.
              Young Asian
              5037659147 or 6362872242
              www.portlandasianescort.com

              Asian Sophia
              Beaverton/Tigard/Airport
              503-765-9147 or 636-287-2242
              In call/outcall 24/7
              Portland Asian Escort
              Portland Escort
              Beaverton/Tigard/Airport

Both advertisements had several photos of Asian women posing provocatively in lingerie.

These appeared to be the same postings observed on October 22, 2018 referenced above.      TFO

Opitz sent a text message to 647-687-7096 and 503-765-9147 asking if she was available.        The

"64 7-687-7096" number responded and the following conversation took place:

               TFO Opitz: Hi. Looking to see someone in Beaverton around 1130? You
                         have a spot?
               TFO Opitz: Would love a hr date
               647-687-7096: Ok
               647-687-7096: 140hh 180h
               647-687-7096: 410 nw lost springs terrace, portland
               TFO Opitz: Ok. Hour is perfect. 180 is fair
               TFO Opitz: 113 0 is good then? Is there a unit number or is that the address?
               TFO Opitz: So 11:30?
               647-687-7096: Ok
               TFO Opitz: Good thx!

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                         TFO Opitz: What unit number would I go to?
                         647-687-7096: Arrive?
                         TFO Opitz: Oh no sorry. Was just asking for when I got there. Sorry
                         TFO Opitz: Unless I can know now ....
                         647-687-7096:Txt or call me when u arrive hun

Once TFO Opitz arrived at the apartments he texted that he had arrived and the number

responded, room "108."              The text then continued as such:

                         647-687-7096: Ok
                         647-687-7096: Room 108
                         647-687-7096: Are you Asian or white or Latinos or
                         TFO Opitz: White guy
                         647-687-7096: Wait 5min
                         TFO Opitz: Ok
                         647-687-7096: Room 108 Come in

        112.             While waiting we observed a white male leave the apartment and law

enforcement later made contact with him.              TFO Opitz went ahead and knocked on the door of

the apartment and an Asian female, later identified as Sally Hy Leung, answered the door

wearing red lingerie.             TFO Opitz identified himself as law enforcement as he entered the

apartment.              Leung gave verbal consent to search the apartment and her cellular phone.     Leung

had the following approximate amounts of money throughout the apartment (none of the money

was seized):

         •               $100 in her wallet
         •               $300 in a white envelope in her suitcase
         •               $280 in a white envelope that was dated "12/18/18"
         •               $700 in a bank bag
         •               $400 in a red wooden box in the closet
         •               Leung also had $11,000 in her vehicle glove box (Leung stated this was all of her
                         "savings")

         113.             Leung agreed to answer questions and the following is a summary of her

interview:


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                After being asked, Leung identified her boss as having a last name "Sun." She
                stated she used to sell life insurance and that is how she met Sun. Leung lost her
                job recently and Sun told her to come to Oregon and work for her. Leung stated
                she drove from California to Oregon around the end of November 2018. Leung
                admitted that she performs sex acts for money. Leung stated Sun comes every two
                days, usually at night time to pick up the money. Leung must write everything
                down and keep records of how much she owes Sun. She must hand the money to
                Sun in person so they can count it together. Leung stated she is paid in cash by
                Sun. She does not know what Sun does with the cash after she takes it. Leung
                believed Sun drove an old Dodge van but is unsure what color and that Sun owns
                a massage parlor here in Oregon. During the interview with Leung, her phone was
                continually ringing and receiving messages through WeChat.

        114.    A search oflaw enforcement databases identified Te Jung Sun as the subscriber to

phone number of "510-552-5292."       FBI records indicated that 510-552-5292 had contact with

"503-875-9755" (Chaodan Wang's phone number) on November 8, 2018.

        115.    The following was observed within the apartment: minimal furniture; Kirldand

Brand products; money; one bedroom with a red lamp; mattress on the floor with a sheet and

towel on top; nightstand next to the bed with tissues/towels/wet towels/lotions; and, records

regarding customers and the amount of money owed.

         116.   Leung showed investigators her WeChat groups.      I observed three WeChat

groups labeled: "385 building410 beaverton", "108", and "Beaverton 108." Leung stated the

main W eChat group that the "boss" is in and tells her when customers are coming is "Beaverton

108."    Leung opened the WeChat conversation and I observed Zongtao Chen's WeChat profile

picture. 4   Chen's WeChat contact card contained the same name at the top when translated,

"Drift" and WeChat #: "wxid_votji7m9h0." (see Image JJ) A picture of some of the conversation




4       On or about June 27, 2018, CHS informed me that Zongtao Chen, a.k.a. Mark Chen, had
changed his WeChat profile picture and then she showed me the new W eChat profile, which also
has his name listed and two phone numbers associated with him.
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was taken and then translated by FBI Linguist (see Image KK).

                                                     Image JJ




                                                                               Image KK




                                                                                  Leung's WeChat




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  Chen's WeChat




     Image KK continued




       117.   While speaking with Leung, an unknown male attempted to enter the apartment.

The male stated he was there to "see a friend." After being questioned, he showed text messages

from "CoCo", phone number "803-716-9992" which related the following:

               Male @ 12: 14 p.m.: going to need a unit number
               CoCo@l2:16 p.m.: we open at 10am 1030 SW jefferson st Portland OR 97201
                     hr 180 hh 140 GFE300 NO AA
               Male@ 12:18 p.m.: I'm the one waiting at Lost Spring Terrace. Are you ready for
                     me?
               CoCo @12:23 p.m.: The girl said the police were coming. You can come next
                    1me
               CoCo @12:24 p.m.: go to jefferson?
               CoCo @12:25 p.m.: a picture of an Asian female was sent
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       118.    Leung agreed to contact me when Sun text her to pick up the money. At

approximately 5:02 p.m., Leung told me that Sun had arrived.      Physical surveillance observed a

grey van bearing Oregon tag 928EEJ arrive at approximately 4:52 p.m.       An Asian female exited

the vehicle and entered apartment 108.

       119.    A search oflaw enforcement databases concluded the following: the 2005 Dodge

Caravan Oregon tag 928EEJ was registered to Larry Lee Hancock.

       120.    At approximately 7:29 p.m., Leung advised that in the WeChat group Sun told

"dispatch" to not take any calls for the rest of the day and they will start again tomorrow with old

customers and to not take any calls from non-recognized numbers.       Leung left and Sun stayed

in the apartment. Physical surveillance was discontinued at approximately 8:00 p.m.

       121.    On January 11, 2019, I went and spoke with the apartment manager for 1030 SW

Jefferson Avenue, Portland, OR. She confirmed that the current lessee at the residence is the

same one who has leased the residence since 201 7.

                                            Location 4

                      13309 SW 72 nd Avenue, Apartment 1D, Tigard, OR

       122.    On January 2, 2019, Portland Police Bureau Officer (PPB) Mike Gallagher

targeted on-line advertisements from the website, "supermatchescort.com" that we know, from

our experience, is used to advertise acts of prostitution. The phone number "64 7-687-7096,"

which we have previously seen, was listed on the main/home page of the website.        Through

back and forth text messages the following conversation occurred:

               Officer Gallagher: I'm just getting off work. You available?
               647-687-7096: Which city
               Officer Gallagher: I'm in Tigard
               647-687-7096: 13301 sw 72 nd ave, Tigard, or 97223 .. What time is good for u

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                             hun?
               Officer Gallagher: Does 630 work???? What r the donations
               647-687-7096: Ok
               647-687-7096: 140hh 180h
               Officer Gallagher: That works. I'd like an hr
               647-687-7096: Ok
               Officer Gallagher: I'll shud be there in 5 mins
               Officer Gallagher: Just parked
               Officer Gallagher: ????
               647-687-7096: Ok
               647-687-7096: Hi
               647-687-7096: Building 13309
               647-687-7096: Room ld
               Officer Gallagher: Is this a sting. Just saw cop car drive by??? Sketched out right
                                 now
               647-687-7096: Google my phone number

        123.    Based upon the messages above, it appears to me that the Chen STO set up a new

brothel location at 13309 SW 72nd Avenue, Apartment 1-D, Tigard, Oregon 97223. In an effort

to verify this, on January 9, 2019, between the hours of 9:45am and 12:45pm, Task Force Officer

(TFO) Yonsoo Lee, Portland Division, and Detective Julie Hicks, Tigard Police Department

conducted physical surveillance at 13309 SW 72nd Avenue, Apartment 1-D, Tigard, Oregon

97223. During the surveillance, agents made the following observations, which all indicate,

based upon my training and experience and observations of similar locations we have

investigated that this location is also an active brothel:

                11:20 a.m. -Detective Hicks observed a white male adult (1) approximately 50
                       years of age, arrive in a gray Toyota Corolla bearing Oregon license plate
                       885CBP exits the vehicle and enters apartment 1-D.

                11:55 a.m. -Detective Hicks observes the same white male (1) exit apartment I-
                       D and leaves in the gray Toyota Corolla.

                12:04 p.m. - TFO Lee observed a different white male adult (2) approximately
                       40-50 years of age, arrive in a silver Mercedes S50 bearing Oregon license
                       plate CU39153. The white male (2) pulls into the apartment parking lot,
                       into a parking space directly in front of apartment 1-D. The vehicle then

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                       immediately pulls back out and leaves the apartment complex.

                12:11 p.m. -TFO Lee observed the same silver Mercedes re-enter the parking
                       lot. The white male driver (2) parks in the driveway to the apartment
                       complex around the comer and enters apartment 1-D.

                12:24 p.m. - TFO Lee observed the same white male (2) exit apartment 1-D and
                       get into the same Mercedes and exits the complex at 12:26 p.m.

                12:31 p.m. -TFO Lee observed an Asian female adult (1) approximately 30
                       years of age, exit apartment 1-D wearing a bath robe and carrying what
                       appeared to be a white kitchen sized trash bag. The Asian female (1)
                       walked across the parking lot to the garbage dumpsters and entered the
                       covered dumpster area. She was not observed by TFO Lee due to the
                       covering. The Asian female (1) then exits the dumpster area without the
                       trash bag and re-enters apartment 1-D.

                12:34 p.m. -TFO lee observed a gray Toyota TC bearing Oregon license plate
                       405JJB enter the apartment parking lot and stops near the community
                       mailboxes. The driver of the vehicle is unidentified and never gets out of
                       vehicle. An unknown race female adult (2) approximately 50-60 years of
                       age, exits the front passenger seat. The female then stands next to the
                       mailboxes for a few moments, walks across the driveway and enters the
                       covered dumpster area. A few moments later the female (2) exits the
                       covered dumpster area carrying a kitchen sized trash bag. The trash bag
                       appears to be the same trash bag as the Asian female (1) was carrying.
                       The female (2) appears to look inside the trash bag and places it into the
                       trunk of the Toyota TC, prior to getting back into the passenger side. The
                       Toyota exits the apartment parking lot at approximately 12:35 p.m.

        124.    Based upon my training and experience, the text messages conversations above as

well as the observations of men coming to the location, staying a relatively short time, and then

leaving is indicative that the location is an active brothel.

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                       Knowledge of STOs and Request for Items to Seize 5

        125.     As described above and in Attachment B, this application seeks permission to

search for various physical items, including records (in whatever form they are found) that may

be found on the Premises identified above that I know are evidence, instrumentalities, and fruits,

of violations of Title 18, United States Code, Sections 2, 371, 1952, and 2421, involving

individuals engaged in criminal conspiracy to knowingly transport individuals in interstate and

foreign commerce with intent that such individuals engage in prostitution and who are using a

facility in interstate commerce with the intent to promote, manage, establish, carry on and

facilitate the promotion, management, establishment, and carrying on of unlawful prostitution

activities.

        126.     One form in which the records will likely be found is data stored on a computer's

hard drive, on other storage media, or other digital devices, including cell phones (hereinafter



5
       Based on my training and experience, I use the following technical terms to convey the
following meanings:

        a.     IP address. The Internet Protocol address (or simply "IP address") is a unique
numeric address used by digital devices on the Internet. Every digital device attached to the
Internet must be assigned an IP address so that Internet traffic sent from and directed to that
digital device may be directed properly from its source to its destination. Most Internet service
providers control a range of IP addresses. Some digital devices have static-that is, long-
term-IP addresses, while other digital devices have dynamic-that is, frequently changed-IP
addresses.

        b.      Internet. The Internet is a global network of digital devices that communicate
with each other. Due to the structure of the Internet, connections between devices on the
Internet often cross state and international borders, even when the devices communicating with
each other are in the same state.

       c.     Storage medium. A storage medium is any physical object upon which data can
be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and
other magnetic or optical media.
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collectively referred to as digital devices). Thus, the warrant applied for would authorize the

seizure of electronic storage media or the copying of electronically stored information, all under

Rule 41(e)(2)(B).

       127.    Through my training and experience and involvement in this investigation, I have

learned that prostitution is primarily, and its base level involving a date between a provider and a

customer, a cash based business. When money is collected by a provider it then starts to get

transferred to other people, including to a boss, as well as others within the organization, in a

variety of forms. Once the money is received, it is also often converted or used to buy both

physical items of value as well as property. Finding currency and currency equivalents

representing the proceeds of illegal activities, money wrappers, and other documents and items

evidencing the obtaining, expenditure, transfer, and/or concealment of assets are evidence of the

underlying criminal activity. Documents relating to real estate transactions including but not

limited to: loan and mortgage records, correspondence with financial institutions, customer or

nominee information, documents relating to closings and real estate transactions, documents

reflecting monies paid or received, lease agreements, customer account information, income and

expenses summaries, cash disbursement journals, financial statements, state and federal income

tax returns help provide evidence of the underlying criminal activity. Bank records including

but not limited to: receipts, bank and savings and loan records of deposit, statements, and other

bank records, letters of credit, money orders, cashier's checks, passbooks, canceled checks,

certificates of deposit, and other documents reflecting financial transactions help provide

evidence of the underlying criminal activity. Other financial records including but not limited

to: cash disbursement journals, financial statements, states of account, deposit slips, money


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orders, cashier's checks, and related receipts, canceled checks, check registers, passbooks, credit

card records and receipts, any records related to digital money transfers, letters of credit, ledgers,

tax returns, and any other records pertaining to the receipt, expenditure, or concealment of

income also help provide evidence of the underlying criminal activity. I also know that

individuals will often hide these items, including within safes.

        128.   Through my training and experience and involvement in this investigation, I have

learned that providers and the STOs involved in prostitution regularly keep records, both in

terms of scheduling "dates," but also documenting information about their customers,

information about the providers, contact lists, items purchased, others involved in the

organization, and the money made, owed, and transferred.

        129.    Through my training and experience and involvement in this investigation, I have

learned that the providers involved in prostitution regularly use and supply condoms, lotions, and

other sexual paraphernalia to service clients.

        130.    Through my training and experience and involvement in this investigation, I have

learned that many of the providers involved in the STO under investigation are from Asian

countries. I have also learned that in these types of investigations that the providers, and other

people involved in the criminal activity, do not always provide their true names and thus U.S. or

foreign identification documents, U.S. or foreign passports, birth certificates and records,

driver's licenses, identification cards, employment identification, immigration documents,

naturalization certificates, etc. which may be used to establish identity, citizenship, eligibility,

residence, or domicile are important items of evidence to prove the identity of the involved

individuals.


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        131.     Through my training and experience and involvement in this investigation, I have

learned that the STO is regularly moving and helping to facilitate the transportation of various

providers both internationally and throughout the United States. I thus seek permission to

search and seize any travel records including but not limited to payment or confirmation for:

airline tickets, bus/train tickets, hotel/motel receipts, Uber, Lyft, taxi, and airport purchases that

is evidence of this activity which has been done to advance the criminal activity under

investigation.

        132.     Through my training and experience and involvement in this investigation, I have

learned that individuals involved in the STO under investigation extensively use cellular phones

to communicate through voice, text, and photo messages, which are often coded to conceal their

true meaning from others, to carry out and facilitate their illegal activities.

        133.     Through my training and experience and involvement in this investigation, I have

learned that the STO maintains electronic records of prostitution activity and/or advertising via

computer or handheld electronic device and/or electronic data storage medium and thus seek to

search for and seize any electronic devices, phones, computers, and tablets.

        134.     There is probable cause to believe, and I do believe, that records will be stored on

a digital device because, based on my knowledge, training, and experience, I know that the STO

under investigation heavily uses computers, cellular telephones, and other electronic devices to

schedule prostitution "dates," to communicate with customers, and to communicate with others

in the organization.

                 a.     Computer files or remnants of such files can be recovered months or even

years after they have been downloaded onto a digital device, deleted, or viewed via the Internet.


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Electronic files downloaded to a digital device can be stored for years at little or no cost. Even

when files have been deleted, they can be recovered months or years later using forensic tools.

When a person "deletes" a file on a digital device, the data contained in the file does not actually

disappear; rather, that data remains on the digital device until it is overwritten by new data.

Therefore, deleted files or remnants of deleted files, may reside in free space or slack space-

that is, in space on the digital device that is not currently being used by an active file-for long

periods of time before they are overwritten. In addition, a digital device's operating system may

also keep a record of deleted data in a "swap" or "recovery" file.

               b.      Wholly apart from user-generated files, digital devices-in particular,

internal hard drives-contain electronic evidence of how a digital device has been used, what it

has been used for, and who has used it. To give a few examples, this forensic evidence can take

the form of operating system configurations, artifacts from operating system or application

operation, file system data structures, and virtual memory "swap" or paging files. Digital device

users typically do not erase or delete this evidence, because special software is typically required

for that task. However, it is technically possible to delete this information.

                c.      Similarly, files that have been viewed via the Internet are sometimes

automatically downloaded into a temporary Internet directory or "cache."

                d.      Based on actual inspection of other evidence related to this investigation,

including email search warrants, I am aware that digital devices were used to generate, store, and

print documents used to promote the illegal prostitution activities that we are investigation.

Thus, there is reason to believe that there is a digital device currently located on the Premises




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listed above that we seek to search. From my experience, every provider that we have

encountered has at least had a cellular telephone.

       135.    As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the warrant

but also for forensic electronic evidence that establishes how digital devices were used, the

purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on any digital device in the Premises, because, based on my

knowledge, training, and experience, I know:

               a.      Data on the digital device can provide evidence of a file that was once on

the digital device but has since been deleted or edited, or of a deleted portion of a file (such as a

paragraph that has been deleted from a word processing file). Virtual memory paging systems

can leave traces of information on the storage medium that show what tasks and processes were

recently active. Web browsers, email programs, and chat programs store configuration

information on the digital device that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other external storage media, and the

times the digital device was in use. Computer file systems can record information about the

dates files were created and the sequence in which they were created.

                b.      Forensic evidence on a digital device can also indicate who has used or

controlled it. This "user attribution" evidence is analogous to the search for "indicia of

occupancy" while executing a search warrant at a residence. For example, registry information,

configuration files, user profiles, email, email address books, "chat," instant messaging logs,


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photographs, the presence or absence of malware, and correspondence (and the data associated

with the foregoing, such as file creation and last-accessed dates) may be evidence of who used or

controlled the digital device at a relevant time. Further, forensic evidence on a digital device

can show how and when it was accessed or used. Such "timeline" information allows the

forensic analyst and investigators to understand the chronological context of access to the digital

device, its use, and events relating to the offense under investigation. This "timeline"

information may tend to either inculpate or exculpate the user of the digital device. Last,

forensic evidence on a digital device may provide relevant insight into the user's state of mind as

it relates to the offense under investigation. For example, information on a digital device may

indicate the user's motive and intent to commit a crime (e.g., relevant web searches occurring

before a crime indicating a plan to commit the same), consciousness of guilt (e.g., running a

"wiping program" to destroy evidence on the digital device or password protecting or encrypting

such evidence in an effort to conceal it from law enforcement), or knowledge that certain

information is stored on a digital device (e.g., logs indicating that the incriminating information

was accessed with a particular program).

               c.      A person with appropriate familiarity with how a digital device works can,

after examining this forensic evidence in its proper context, draw conclusions about how digital

devices were used, the purpose of their use, who used them, and when.

                d.     The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a digital device that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, electronic evidence is not always data that can be merely reviewed by a review team and


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passed along to investigators. Whether data stored on a digital device is evidence may depend

on other information stored on the digital device and the application of knowledge about how a

digital device behaves. Therefore, contextual information necessary to understand other

evidence also falls within the scope of the warrant.

                 e.     Further, in finding evidence of how a digital device was used, the purpose

of its use, who used it, and when, sometimes it is necessary to establish that a particular thing is

not present on a digital device. For example, the presence or absence of counter-forensic

programs or anti-virus programs (and associated data) may be relevant to establishing the user's

intent.

                 f.     I know that when an individual uses a digital device to commit the crimes

under investigation the individual's digital device will generally serve both as an instrumentality

for committing the crime and also as a storage medium for evidence of the crime. The digital

device is an instrumentality of the crime because it is used as a means of committing the criminal

offense. The digital device is also likely to be a storage medium for evidence of crime. From

my training and experience, I believe that a digital device used to commit a crime of this type

may contain: data that is evidence of how the digital device was used; data that was sent or

received; notes as to how the criminal conduct was achieved; records of Internet discussions

about the crime; and other records that indicate the nature of the offense.

          136.   In most cases, a thorough search of the Premises for information that might be

stored on a digital device often requires the seizure of the device and a later, off-site review

consistent with the warrant. In lieu of removing a digital device from the Premises, it is

sometimes possible to image or copy it. Generally speaking, imaging is the taking of a


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complete electronic picture of the digital device's data, including all hidden sectors and deleted

files. Either seizure or imaging is often necessary to ensure the accuracy and completeness of

data recorded on the digital device and to prevent the loss of the data either from accidental or

intentional destruction. This is true because:

               a.      As noted above, not all evidence takes the form of documents and files

that can be easily viewed on site. Analyzing evidence of how a digital device has been used,

what it has been used for, and who has used it requires considerable time, and taking that much

time on premises could be unreasonable. As explained above, because the warrant calls for

forensic electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

examine digital devices to obtain evidence. Digital devices can store a large volume of

information. Reviewing that information for things described in the warrant can take weeks or

months, depending on the volume of data stored, and would be impractical and invasive to

attempt on-site.

               b.      Records sought under this warrant could be stored in a variety of formats

that may require off-site reviewing with specialized forensic tools. Similarly, digital devices

can be configured in several different ways, featuring a variety of different operating systems,

application software, and configurations. Therefore, searching them sometimes requires tools or

knowledge that might not be present on the search site. The vast array of hardware and software

available makes it difficult to know before a search what tools or knowledge will be required to

analyze the system and its data on the Premises. However, taking the digital device off-site and

reviewing it in a controlled environment will allow its examination with the proper tools and

knowledge.


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       13 7.   Based upon my training and experience, it is likely that the Premises will contain

at least one Apple brand device, such as an iPhone or iPad, because we have encountered

iPhones during this investigation.

               a.      I know from my training and experience, as well as from information

found in publicly available materials including those published by Apple, that some models of

Apple devices such as iPhones and iPads offer their users the ability to unlock the device via the

use of a fingerprint or thumbprint (collectively, "fingerprint") in lieu of a numeric or

alphanumeric passcode or password. This feature is called Touch ID.

               b.       If a user enables Touch ID on a given Apple device, he or she can register

up to 5 fingerprints that can be used to unlock that device. The user can then use any of the

registered fingerprints to unlock the device by pressing the relevant finger(s) to the device's

Touch ID sensor, which is found in the round button (often referred to as the "home" button)

found at the bottom center of the front of the device. In my training and experience, users of

Apple devices that offer Touch ID often enable it because it is considered to be a more

convenient way to unlock the device than by entering a numeric or alphanumeric passcode or

password, as well as a more secure way to protect the device's contents. This is particularly true

when the user(s) of the device are engaged in criminal activities and thus have a heightened

concern about securing the contents of the device.

                c.      In some circumstances, a fingerprint cannot be used to unlock a device

that has Touch ID enabled, and a passcode or password must be used instead. These

circumstances include: (1) when more than 48 hours has passed since the last time the device

was unlocked and (2) when the device has not been unlocked via Touch ID in 8 hours and the


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             passcode or password has not been entered in the last 6 days. Thus, in the event law

             enforcement encounters a locked Apple device, the opportunity to unlock the device via Touch

             ID exists only for a short time. Touch ID also will not work to unlock the device if (1) the

             device has been turned off or restarted; (2) the device has received a remote lock command; and

             (3) five unsuccessful attempts to unlock the device via Touch ID are made.

                            d.       The passcode or password that would unlock the Apple device found

             during the search of the Premises is not known to law enforcement. Thus, it will likely be

             necessary to press the fingers of the users of the Apple device found during the search of the

             Premises to the device's Touch ID sensor in an attempt to unlock the device for the purpose of

             executing the search authorized by this warrant. Attempting to unlock the relevant Apple

             device(s) via Touch ID with the use of the fingerprints of the users is necessary because the

             government may not otherwise be able to access the data contained on those devices for the

             purpose of executing the search authorized by this warrant.

                            e.      In my training and experience, the person who is in possession of a device

             or has the device among his or her belongings at the time the device is found is likely a user of

             the device. However, in my training and experience, that person may not be the only user of the

             device whose fingerprints are among those that will unlock the device via Touch ID, and it is

             also possible that the person in whose possession the device is found is not actually a user of that

             device at all. Furthermore, in my training and experience, I know that in some cases it may not

             be possible to know with certainty who is the user of a given device, such as if the device is

             found in a common area of a premises without any identifying information on the exterior of the

             device. Thus, it will likely be necessary for law enforcement to have the ability to require any


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occupant of the Premises to press their fingers against the Touch ID sensor of the locked Apple

device found during the search of the Premises in order to attempt to identify the device's user( s)

and unlock the device(s) via Touch ID.

                 f.     Although I do not know which of a given user's 10 fingerprints is capable

of unlocking a particular device, based on my training and experience I know that it is common

for a user to unlock a Touch ID-enabled Apple device via the fingerprints on thumbs or index

fingers. In the event that law enforcement is unable to unlock the device(s) found in the

Premises as described above within the five attempts permitted by Touch ID, this will simply

result in the device requiring the entry of a password or passcode before it can be unlocked.

                 g.     I therefore request that the Court authorize law enforcement to press the

fingers, including thumbs, of the above-named individuals found at the Premises to the Touch ID

sensor of the device(s), such as an iPhone or an iPad, found at the Premises for the purpose of

attempting to unlock the device(s) via Touch ID in order to search the contents as authorized by

this warrant.)

        138.     Nature of the examination. Based on the foregoing, and consistent with Rule

41 (e)(2)(B), the warrant for which I apply would permit seizing, imaging, or otherwise copying

digital devices that reasonably appear to contain some or all of the evidence described in the

warrant and would authorize a later review of the device or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-

assisted scans of the entire device, that might expose many parts of a hard drive to human

inspection in order to determine whether it is evidence described by the warrant.




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        139.    The initial examination of the digital device will be performed within a reasonable

amount of time not to exceed 120 days from the date of execution of the warrant. If the

government needs additional time to conduct this review, it may seek an extension of the time

period from the Court within the original 120-day period from the date of execution of the

warrant. The government shall complete this review within 180 days of the date of execution of

the warrant. If the government needs additional time to complete this review, it may seek an

extension of the time period from the Court.

        140.    If, at the conclusion of the examination, law enforcement personnel determine

that particular files or file folders on the digital device do not contain any data falling within the

scope of the warrant, they will not search or examine those files or folders further without

authorization from the Court. Law enforcement personnel may continue to examine files or data

falling within the purview of the warrant, as well as data within the operating system, file

system, software application, etc., relating to files or data that fall within the scope of the

warrant, through the conclusion of the case.

        141.    If an examination is conducted, and the digital device does not contain any data

falling within the ambit of the warrant, the government will return the digital device to its owner

within a reasonable period of time following the search and will seal any image of the digital

device, absent further authorization from the Court.

        142.    The government may retain the digital device as evidence, fruits, contraband, or

an instrumentality of a crime or to commence forfeiture proceedings against the digital device

and/or the data contained therein.




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        143.   The government will retain a forensic image of the digital device for a number of

reasons, including proving the authenticity of evidence to be used at trial, responding to

questions regarding the corruption of data, establishing the chain of custody of data, refuting

claims of fabricating, tampering, or destroying data, and addressing potential exculpatory

evidence claims where, for example, a defendant claims that the government avoided its

obligations by destroying data or returning it to a third party.

                                                 Conclusion

        144.   Based on the foregoing, I have probable cause to believe, Zong Tao Chen, a.k.a.

Zongtao Chen, a.k.a. Mark Chen; W eixuan Zhou, Yan Wang, a.k.a. Sarah; Ting Fu; Chaodan

Wang and other known and unknown individuals are engaged in a criminal conspiracy that is

using facilities in interstate or foreign commerce, specifically computers and cellular telephones,

with the intent to promote, manage, establish, and carry on acts to facilitate the promotion,

management, establishment, and carrying on of an unlawful activity namely, a business

enterprise involving prostitution offenses in violation of the laws of the State in which they are

committed, to-wit prostitution in violation of Oregon Revised Statute (ORS) 167.007 and of the

United States, and has thereafter performed and attempted to perform an act to promote, manage,

establish, and carry on and to facilitate the promotion, management, establishment, and carrying

on of such unlawful activity and is also knowingly transporting individuals in interstate and

foreign commerce with intent that such individuals engage in prostitution and I do believe, that

the premises described in Attachment A contains the items set forth in Attachment B, which I

know based upon my training and experience are evidence, contraband, and instrumentalities of

violations of 18 U.S.C. §§ 2, 371, 1952, and 2421. I therefore request that the Court issue a


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warrant authorizing a search of the premises described in Attachment A for the items listed in

Attachment B and the seizure and examination of any such items found.

       145.             This affidavit, the accompanying application, and the requested search warrant

were reviewed by Assistant United States Attorney Scott Kerin prior to being submitted to the

Court. AUSA Kerin informed me that in his opinion, the affidavit and application are legally

and factually sufficient to establish probable cause to support the issuance of the requested

warrant.




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                                  ATTACHMENT A




                                      Location 1
13957 SW Ronald Court, Beaverton, OR, 97006, is a two story residence gray in color with
              white trim. The numbers "13957" above the garage door.




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                                     ATTACHMENT A


                                         Location 2
1030 SW Jefferson Avenue, Apartment 340, is a multi floor apartment complex tan in color, with
 the phrase "Museum Place" above the main entry. The apartment has the number "340" to the
                                     left of the door.




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                                      ATTACHMENT A


                                           Location 3
 410 NW Lost Springs Terrace, Apartment 108, Portland OR 97229, is two bedroom apartment
located on the bottom floor on the northwest side of the building. The exterior of the building is
                                        tan and brown.




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                                   ATTACHMENT A


                                       Location 4
13309 SW 72nd Avenue, Apartment 1-D, Tigard, OR 97224, is an apartment located on the west
              side of the building. To the left of the front door reads, "1-D."




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                                        ATTACHMENTB

                                        Items to be Seized

        1.     Evidence, instrumentalities, and fruits of violations of Title 18, United States

Code, Sections 2, 371, 1952, and 2421, involving individuals engaged criminal conspiracy that is

using facilities in interstate or foreign commerce, specifically computers and cellular telephones,

with the intent to promote, manage, establish, and carry on acts to facilitate the promotion,

management, establishment, and carrying on of an unlawful activity namely, a business

enterprise involving prostitution offenses in violation of the laws of the State in which they are

committed, to-wit prostitution in violation of Oregon Revised Statute (ORS) 167 .007 and of the

United States, and has thereafter performed and attempted to perform an act to promote, manage,

establish, and carry on and to facilitate the promotion, management, establishment, and carrying

on of such unlawful activity and is also knowingly transporting individuals in interstate and

foreign commerce with intent that such individuals engage in prostitution, from January 2017,

until the date that the search warrant is executed, to include the following:

        a.      Currency and currency equivalents representing the proceeds of illegal activities,

               money wrappers, and other documents and items evidencing the obtaining,

                expenditure, transfer, and/or concealment of assets;

        b.      Tickets or items used to represent the number of clients served and money owed

                to a female being prostituted. Any condoms, lotions, or other paraphernalia used

                to service clients;

        c.      U.S. or foreign identification documents, U.S. or foreign passports, birth

                certificates and records, driver's licenses, identification cards, employment
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           identification, immigration documents, naturalization certificates, etc. which may

           be used to establish identity, citizenship, eligibility, residence, or domicile;

     d.    Documents relating to real estate transactions including but not limited to: loan

           and mortgage records, correspondence with financial institutions, customer or

           nominee information, documents relating to closings and real estate transactions,

           documents reflecting monies paid or received, lease agreements, customer

           account information, income and expenses summaries, cash disbursement

           journals, financial statements, state and federal income tax returns;

     e.    Bank records including but not limited to: receipts, bank and savings and loan

           records of deposit, statements, and other bank records, letters of credit, money

           orders, cashier's checks, passbooks, canceled checks, certificates of deposit, and

           other documents reflecting financial transactions;

     f.    Other financial records including but not limited to: cash disbursement journals,

           financial statements, states of account, deposit slips, money orders, cashier's

           checks, and related receipts, canceled checks, check registers, passbooks, credit

           card records and receipts, any records related to digital money transfers, letters of

               credit, ledgers, tax returns, and any other records pertaining to the receipt,

               expenditure, or concealment of income;

     g.        Fruits of crimes and items of value that evidence wealth obtained from the sex

               trafficking scheme, including: United States currency, preciousmetals, jewelry,

               safe deposit box lease agreements and safe deposit box keys, rare coins, and other




Attachment B                                                                                    Page2
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                items of value, as well as books and records regarding the acquisition, use, and

                disposition of such items of value;

       h.       Safes and the contents of any safes, locked or unlocked;

       1.       Any travel records including but not limited to payment or confirmation for:

                airline tickets, bus/train tickets, hotel/motel receipts, Uber, Lyft, taxi, and airport

                purchases.

       J.       Latent prints and identifying material from items at the Subject Residence.

       k.       Any electronic devices, phones, computers, and tablets.

       2.       As used in this attachment, the terms "records" and "information" include all of

the foregoing items of evidence in whatever form and by whatever means they may have been

created or stored, including any form of computer or electronic storage (such as flash memory or

other media that can store data) and any photographic form. The term "computer" includes all

types of electronic, magnetic, optical, electrochemical, or other high speed data processing

devices performing logical, arithmetic, or storage functions, including desktop computers,

notebook computers, mobile phones, tablets, server computers, and network hardware. The term

"storage medium" includes any physical object upon which computer data can be recorded.

Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and other magnetic

or optical media.

       3.       For any computer or storage medium whose seizure is otherwise authorized by

this warrant and any computer, storage medium, or digital device that contains or in which is

stored records or information that is otherwise called for by this warrant (hereinafter

"Computer"):


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     a.    Evidence of who used, owned, or controlled the Computer at the time the things

           described in this warrant were created, edited, or deleted, such as logs, registry

           entries, configuration files, saved usemames and passwords, documents, browsing

           history, user profiles, email, email contacts, "chat," instant messaging logs,

           photographs, and correspondence.

     b.    Evidence of software that would allow others to control the Computer, such as

           viruses, Trojan horses, and other forms of malicious software, as well as evidence

           of the presence or absence of security software designed to detect malicious

           software.

     c.    Evidence of the lack of such malicious software.

     d.    Evidence indicating how and when the Computer was accessed or used to

           determine the chronological context of computer access, use, and events relating

           to the crime under investigation and to the Computer user.

     e.    Evidence indicating the Computer user's state of mind as it relates to the crime

           under investigation.

     f.    Evidence of the attachment to the Computer of other storage devices or similar

           containers for electronic evidence.

     g.    Evidence of counter-forensic programs (and associated data) that are designed to

           eliminate data from the Computer.

     h.        Evidence of the times the Computer was used.

     i.        Passwords, encryption keys, and other access devices that may be necessary to

               access the Computer.


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       j.       Documentation and manuals that may be necessary to access the Computer or to

                conduct a forensic examination of the Computer.

       k.       Records of or information about Internet Protocol addresses used by the

                Computer.

       1.       Records of or information about the Computer's Internet activity, including

                firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"

                web pages, search terms that the user entered into any Internet search engine, and

                records of user-typed web addresses.

       m.       Contextual information necessary to understand the evidence described in this

                attachment.

       n.       Routers, modems, and network equipment used to connect computers to the

                Internet.

       4.       During the execution of the search of the Premises described in Attachment A,

law enforcement personnel are authorized to press the fingers, including thumbs, of (name the

individuals) found at the Premises to the Touch ID sensor of the Apple brand device(s), such as

an iPhone or iPad, found at the Premises for the purpose of attempting to unlock the device via

Touch ID in order to search the contents as authorized by this warrant.

                                        Search Procedure

       5.       The search for data capable of being read, stored, or interpreted by a computer or

storage device, may require authorities to employ techniques, including imaging any computer or

storage media and computer-assisted scans and searches of the computers and storage media, that




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might expose many parts of the computer to human inspection in order to determine whether it

constitutes evidence as described by the warrant.

       6.       The initial examination of the computer and storage media will be performed

within a reasonable amount of time not to exceed 120 days from the date of execution of the

warrant. If the government needs additional time to conduct this review, it may seek an

extension of the time period from the Court within the original 120-day period from the date of

execution of the warrant. The government shall complete this review within 180 days of the date

of execution of the warrant. If the government needs additional time to complete this review, it

may seek an extension of the time period from the Court.

       7.       If, at the conclusion of the examination, law enforcement personnel determine

that particular files or file folders on the computer and storage media do not contain any data

falling within the scope of the warrant, they will not search or examine those files or folders

further without authorization from the Court. Law enforcement personnel may continue to

examine files or data falling within the purview of the warrant, as well as data within the

operating system, file system, software application, etc., relating to files or data that fall within

the scope of the warrant, through the conclusion of the case.

        8.      If an examination is conducted, and the computer and storage media do not

contain any data falling within the ambit of the warrant, the government will return the computer

and storage media to its owner within a reasonable period of time following the search and will

seal any image of the computer and storage media, absent further authorization from the Court.




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       9.      The government may retain the computer and storage media as evidence, fruits,

contraband, or an instrumentality of a crime or to commence forfeiture proceedings against the

computer and storage media and/or the data contained therein.

        10.    The government will retain a forensic image of the computer and storage media

for a number of reasons, including proving the authenticity of evidence to be used at trial,

responding to questions regarding the corruption of data, establishing the chain of custody of

data, refuting claims of fabricating, tampering, or destroying data, and addressing potential

exculpatory evidence claims where, for example, a defendant claims that the government

avoided its obligations by destroying data or returning it to a third party.




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